 

Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page iittar 7 8S

Fill in this information to identify your case:

Middle District of Florida

» Case number oF enown,

i.

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

United States Bankruptcy Court for the:

Chapier you are filing under:

Chapter 7
wl Chapter 11
O) Chapter 12
UO) Chapter 13

A MAIL pO
Vi
JRRSDNVILE FLORIDA

OCT 04 2019

CLERK, U.S, BANKRUPTCY COURT
MIDDLE DISTRICT CF FLORIDA

Cd Check if this is an
amended filing

12/17

 

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case togethar—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debior ft and
Debior 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2, The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information, lf more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number
(if known). Answer every question.

REE tcentity Yourself

Your full name

Write the name thal is an your
government-issued picture
identification (far example,
your driver's license ar
passport).

Bring your picture
identification to your meeting
with the trustee,

About Debtor 1:

 

About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

Sabrina Brianna
First name First name
Danielle Elizabeth
Middle name Middle name
Victory Victory
Last name Last name

Suffix (Sr, Jr, U, WG

Suffix (Sr, Jr, Ul, Il)

 

UAE tae sineen srs set Bact

papaimancaypareraey

2,

a.

All other names you
have used in the last 8
years

Include your Married or
maiden names.

Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
identification number
{ITIN)

Official Form 101

§ Mev dUaeeen ARETE TE DD sees em NCHeeRELGGai So Pb Re ernment oat

 

 

 

 

 

 

Sete tee ote BAA aE EM ames J2 Uaeinie PMA MAERSESeoeses MELE SE SESE rohg NESE BERN EE weer 5 Sho ES MIPIM DU ese MARE 5 GR SAE RE REDS co ett pet

 

 

 

Brianna
First name First name
Middle name Middle name
Hollier
Last name Last name
Brianna
First name First name
Middle name Middle name
Trimble
Last name Last name
xxx - xx —-_ 0 4 9 4 XXX - XX —__3 5 0 4
OR OR
Oxx = xx - 9 xx ~ xx -
Voluntary Petition for individuals Filing for Bankruptcy page 1
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Debtor 1 Sabrina

Danielle Victory

 

Farst Name

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

 

Hei

5s. Where you live

: 6 Why you are choosing
this district to file for
bankruptcy

Official Form 101

Middle Name

 

Last Name

About Debtor 1:

A | have not used any business names or EINs.

Case number of kncwn),

About Debtor 2 (Spouse Only in a Joint Case}:

CT | have not used any business names or EINs.

 

Business name

 

Business name

EN

EIN

1015 NE 6th Ave

 

Business name

 

Business name

EN

if Debtor 2 lives at a different address:

 

 

 

 

 

 

 

 

Number Street Number Street

Crystal River FL 34428

City State ZIP Cade City State ZIP Cade
Citrus

County County

If your mailing address ts different from the one
above, fill it in here, Note that the cour will send
any notices to you at this mailing address.

 

Street

P.O. Box 1047

Number

 

P.O. Box

Old Town FL 32680

 

City State ZIP Code

Check one:

v4 Over the jast 180 days before filing this petition,
| have lived in this district longer than in any
ather district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 14085

 

 

 

 

Voluntary Petition for individuals Filing for Bankruptcy

220588 ARNE ROR TEN to

ff Debtor 2’s maiting address is different from
yours, fill it in here. Note that the court will send
any natices to thie mailing address.

 

Number Street

 

P.O. Box

 

City State ZIP Code

Check ane:

(J Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

page 2

 
Debtor 1

Case 3:19-bk-03800-JAF Doc1 Filed 10/04/19 Page 3 of 88

Sabrina

Danielle Victory

Case number cf kscwn

 

First Name

Middle Name

 

Last Name

pare 2: | Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
iast 8 years?

10. Are any bankruptcy

41,

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 104

L) Chapter 13

Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 3423/5) for individuals Filing
for Bankruptcy (Form 2010)}). Also, go to the top of page 1 and check the appropriate box.

4 Chapter 7
C) Chapter 11
QC) Chapter 12

(| will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court fer mere details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. lf your attorney Is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals fo Pay Tne Filing Fee in installments (Official Form 103A).

C) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By jaw, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

W No
OC) Yes. District When Case number
MMi BD ery
District When Case number
MM? DDI YYTYY
District When Case number
MM/ OD/YYYY
No
QO) Yes. debtor Relationship to you
District When Case number, if known,
MM/DO /¥Y¥Y
Debtor Relationship io you
District When Case number, if known
MM ‘DDS YYYY
LIN. Goto line 12.
\@ Yes. Has your landlord obtained an eviction judgment against you?

VA Na. Go to line 12.

C) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Votuntary Petition for Individuals Filing for Bankruptcy

page 3

 
Debtor 4 Sabrina — Danielle Victory Case quimber cr xeaney

First Name Middle Narne

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Last Name

EERE ero About Any Businesses You Own as a Sole Proprietor

412. Are you a sole proprietor

13,

 

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is nat a
separate legal entity such as
a corporation, partnership, or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a smai/ business
debtor?

For a definition of smal

business debtor, see
WUSC. § 101(5110).

41 No. Go to Part 4.

QL Yes. Name and location of business

 

Name of business. if any

 

Number Street

 

 

City State ZIP Code

Check the appropriate box to describe your business:

LC} Health Care Business (as defined in 14 U.S.C. § 104(274))

L) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

ta) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 1014/6)

LI None of the above
if you are filing under Chapter 117, the court must knaw whether you are a small business debtor so that it
can set appropriate deadiines. If you indicate that you are a small business debtor, you must attach your

mast recent balance sheet, statement of operations. cash-flaw statement, and federa! income tax return or if
any of these documents do not exist, follow the procedure in 14 U.S.C. § 4116(1)(B).

WI No. lam not filing under Chapter 11.

LI No. fam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

L) ves. | am filing under Chapter 11 and i am a smail business debter according to the definition in the
Bankrupicy Code,

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14

 

. Doe you own or have any

property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

No
L) Yes. What is the hazard?

 

 

 

fimmediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

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Danielle Victory

Middle Name Last Name

Sabrina

Firs Name

Debtor 1 Case number (if anova}

Ty e-vsain Your Efforts to Receive a Briefing About Credit Counseling

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint ase):

45. Teil the court whether

you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one af the
following choices. If you
cannot do sa, you are nat
eligible to file.

if you fila anyway, the court
can dismiss your case, yOu
will jose whatever filing fee
you paid, and your creditors
can begin collection activities
again,

Official Form 104

You must check one:

bd | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(} 1 received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

CO] | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy. and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after yau file.
You must file a certificate fram the approved
agency, alang with a copy af the payment plan you
developed, if any. If you da not da sa, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
anly for cause and is limited to a maximum of 15
days.

Ld tam not required to receive a briefing about
credit counseling because of:

() incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisians about finances.

Q Disability. My physical disabilty causes me

to be unable to participate in a
briefing in person, by phone, or
through tne internet, even after |
Teasonably tried to do so.

L] Active duty. | am currently on active military

duty in a military cambat zane.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Potition for Individuals Filing for Bankruptcy

You must check one:

CI) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and [ recelved a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

LU i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 cays after you file this bankruptcy petition,
you MUST file a capy of the certificate and payment
plan, if any.

LI t certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable ta obtain it before yau filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before ycu filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file,
You must file a certificate fram the approved
agency, along with a copy of the payment plan you
developed, ifany. If you do nat do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
onty for cause and is limited to a maximum of 15
days.

OC) 1am not required to receive a briefing about
credit counseling because of:

L) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LI Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
Teasonably iied 10 do so.

L) active duty. | am currentty on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court

page 5

 

 
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Danielle Victory

Middle Name Last Name

Sabrina

First Mame

Debtor 7 Case number (i known}

 

TS aeseer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

fp pMoeneencs enum jpg 1 feamemerseaeunun tes HERRERA Gey ee ETE wea t eee

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your fiabilities

to unsecured creditors?

i6a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C) No. Go to line 16b.
J Yes. Go ta line 17,

16b. Are your debts primarily business debts? Susiness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
C} No. Go ta line 16¢.
CL} Yes. Go to line 17.

16¢. State the type of debts you owe that are not consumer debts or business debts,

 

L) No.

 

ane BERE ESTER AAOME EAD ee EHD CREE ECM

| am not filing under Chapter 7. Go to fine 18.

W Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

wi No
O ves

1 1-49
CL) 50-99
LJ 100-199
©) 200-999

\A $0-350,000

LJ $50,001-3100.000
Q $100,001-$500,000
CL) s500,001-$1 million

 

LI 4,000-5,000
C} 5,001-10,000
©) 10,001-25,000

q $1,000,001-$10 million

| $10,000,001-$50 million
CJ $50,000,091-$100 million
CL) $100,000,001-$500 milfion

stich

CJ 25,007-50,000
LJ 50,001-100,000
LJ Mare than 100,000

Fee cat ak noma ance HEHE: a ROR ha SEEM

Q $500,000,001-$4 billion

© $4 ,000,000,001-$10 billion
©] $10,000,000,001-850 bitlion
CL) More than $50 billion

 

LJ $0-$50,000
C4 $50,007-$100,000

C) $1,000,001-810 milion
 $10,000,001-850 million

C) $50¢,000,001-$1 billion
LA $1,000,000,001-$40 bition

 

to be? 4 $100,001-$500,000 C) $50,000,001-$100 million CJ $10,000,000,001-$50 billion
L) $500,001-$1 million CQ) §100,000,001-$500 million CQ More than $50 bitlion
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

Official Form 1974

If | have chosen ta file under Chapter 7, | am aware that i may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Cede. | understand the relief available under each chapter, and ] choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read ihe notice required by 14 U.S.C. § 342¢b).

| request relief (n accordance with the chapter of title 11, United Stales Cade, specified in this petition.

[understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, ar imprisonment for up to 20 years, or both.
18 USC. §§ 152, 1341, ven and 3571.

x S.A

Signature of Debtor 1

Executed on £0 fe

OL 4

pb } ry

Voluntary Petition for Individuals Filing for Bankruptcy

 

“Bate ————
Signature of Debtor 2

Executed one of 0

MM / OD

f bors

 

page 6

 
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Debtor 1 Sabrina Danielle Victory Case number citknown)

First Marne: Middle Name Last Name

 

 

|, the attorney for the debtor(s) named in this petition, deciare that | have informed the debtar(s) about eligibility
to praceed under Chapter 7,11, 12, of 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | alsa certify that | have delivered ta the debtor(s)
the notice required by 171 U.S.0. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

 

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date
Signature of Alterney for Debtor MM / BD IYYYY

 

Printed name

 

Firm name

 

Number = Street

 

 

 

 

City State ZIP Code
Cortact phone Email address
Bar number State

   

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

 
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Debtor 1 Sabrina Danielle Victory Case number titinowz

Ficst Name Middle Alame Last N3ine

 

   

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by /
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case, The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, US. trustee, bankruptcy administrater, or audit
firrn if your case is selected for audit. If that happens, you could lose your rignt to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property of properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest fn your bankruptcy
case, Such as destroying or hiding property, falsifying records, or tying. iIndividua) pankrupicy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you dacide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure. and the focal rules of the court in which your case is filed. You must also
be familiar with any state exemption jaws that apply.

Are you aware that filing for bankruptcy is a serious action with fong-term financial and legal
consequences?

Ona
af) Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CI No

6d Yes

Did you pay or agree ta pay someone who is not an attorney to help you fill out your bankruptcy forms?

C) No
WI ves. Name of Persan Rick Weaver( Court Source, Inc,.} ;
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that t understand the risks involved in filing without an attorney. |
nave read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if ] do not properly handle the case.

c

 

 

 

x » ea x RMN
Signature of Debtor 1 , - —_ Signature of Debtor 2
Date fe Date fo Ta PD/ DelG
MMAODT PYYYY Mi OD IYYYY
Contact phone (619) 318-4524 Contact phane (619) 385-2165
Cell phone Cell phone
Email address Sabrinadvictory@gmail.com Email address

 

 

 

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
PETITION WORKSHEET

CASE NUMBER...: 19-03800-3F7

DEBTOR,.......: VICTORY, SABRINA DANIELLE

JOINT. .......- : VICTORY, BRIANNA ELIZABETH

FILED......... ; 10/04/2019 CASE TYPE: J COUNTY: 12017
WHERE.........: JACKSONVILLE FIRST FLOOR [0]

300 NORTH HOGAN ST. SUITE 1-200
JACKSONVILLE, FL 32202

TRUSTEE.......: [ALTMAN, R]
WHEN..........: FRIDAY NOVEMBER 15, 2019 AT 12:30 p.m. {42]

DEBTOR'S ATTY.: PROSE

MATRIX a INST. APP. 20 LRG UNSEC. MATRIX (CH 11)
MATRIX ON DISK uu SOAR .
PRO SE 20 LRG UNSEC. LIST (CH 11)

DISC. OF COMP.
EXHIBIT *A* (REQUIRED IF DEBTOR IS A CH 11 CORPORATION)
L~ summary OF SCHEDULES
SCHEDULES A- J (INDICATE UNDER COMMENTS IF ANY ARE MISSING)
“ DECLARATION UNDER PERJURY

& STATEMENT OF FINANCIAL AFFAIRS

= a CH 7 STATEMENT OF INTENTIONS

__ CHAPTER 13 PLAN
COMMENTS : AA UO USCA tren Gyao/ LY [he .

Df SUA. Sol Ur Sigued

CLAIMS BAR oat i f / COMPLAINT DATE: / /¢

Fee informa

  
  

Total ->

 
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UEC CRU eae mere

Debtor 1 Sabrina Danielle Victory

First Name Midge Name Lost Mamie

 

Debtor 2 Brianna Elizabeth Victory

(Spouse, if fling} First Name Middle Name Last Name
United States Bankruptcy Court for the: Middle District af Florida

Case number LY Check if this is an
‘If known) amended filing

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
infarmation. Fill out all of your schedules first; then complete the infomation on this form. H you are filing amended schodules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Pky summarize Your Assets

Your assets
Value of what you own

1 Schedule A‘B: Property (Official Form 1064/8)

 

 

 

 

 

i
1a. Copy line 55. Total real estate, from Schedule A/B cette sittteensenentes cb eettegettvineesetiienes dueeeueeenteensens cieeeee S$ 3
1b. Copy line 62, Total personal property, from Schedule AB cc ee ccccccccsscsssceseesuuscanscusetsecesessteceseesutsecsscesttaneanetiseteetse tas $ 44,754.49 ;
~
1c. Copy line 63, Total of all property on Schedule AMG occ ccc eee eee ree tec esccges eee santeeveeessaecarennneenaysarteenesnnnenenennsees $ 44,754.49 i
EE summarce Your Liabilities
Your liabilities

Amount you owe

"2. Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 1060)

2a Copy the total you listed in Column A, Amaunt of claim, at the bottom of the last page of Parl 1 of Schedule D............ $ ___ 51,944.00

3 Schedule CF Creditors Who Have Unsecured Clams (Official Farm 106E/F)
3a. Copy the total claims from Part 1 {priority unsecured claims) from line Ge of Schedule E/E oo. cies

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ee cetteeauseetees

+ 5 122,736.15

 

 

 

 

 

Your total fiabilities g___ 174,680.15
EERES semmarize Your income and Expenses
_ 4 Schedule i: Your income (Official Form 1061)
| ’ ¢ 2,333.33
Copy your combined monthly income fram line 12 of Schedule ba... eect cette cee eeteeneees Seve eeeeeetenetccntatceseneeea ——_——_ —
5 Schedule J: Your Exnenses (Official Farm 194J)
2,898.00

Copy your monthly expenses from line 22c af Schedule Joo. cc cette cere fees sneeneseestneenes cettteeestesenenetes 3

Official Form 106S5um Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 

 
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Debtor 1 Sabrina Danielle Victory Case number ¢riown)

First Name Middle Name Last Name

 

 

 

BE answer These Questions for Administrative and Statistical Records

"6. Are you filing for bankruptcy under Chapters 7, 11, or 137 i

Q) Ne. You have nothing te report on this part of the form. Check this bax and submit this form to the court with your other scheduies.

¥ Yes

 

7. What kind of debt do you have?

Ww Your debts are primarily consumer debts. Consumer debis are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 4101(8}. Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 189.

L] Your debts are not primarify consumer debts, You have nothing to repert on this part of the form, Check this box and submit
this form to the court with your other schedules.

 

| 8 From the Statement of Your Current Monthiy income: Copy your total current monthly income from Official
Form 1224-1 Line 11; GR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 2,000.40

 

 

 

 

9. Gopy the following special categories of claims from Part 4, line 6 of Schedule EF:

 

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Damestic support obligations (Copy line 6a.) $ ,
9b. Taxes and certain other debts you owe the government. (Capy line 6b.) $
9c. Claims for death or personal injury while you were intoxicated. (Capy line 6c.) $
ad. Student loans. {Copy line Gf.) $ 62,461.00
9e. Obligations arising aut of a separation agreement or divorce that you did not report as $

pricrity claims. (Copy line 6g.)

Of. Debts to pension or profit-sharing plans. and other similar debts. (Copy !ine Sh.) +5
9g. Total. Add lines 9a through 9f. $ 62,461.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
Case 3:19-bk-03800-JAF Doc1_ Filed 10/04/19

Fill in this information to identify your case and this filing:

Danielle

Middle Name

Elizabeth

Middle Name

Victory
Last Name

Victory

Last Name

Sabrina

First ame

Debtor 2 Brianna
(Spouse, if tiling) First Name

Debtor 1

 

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

Page 12 of 88

LJ Check if this is an
amended filing

12/165

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet te this form. On the top of any additlonal pages,

write your name and case number (if known). Answer every question.

RS o2scrine Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, tand, or similar property?

vi No. Go to Part 2
CJ Yes. Where is the property?

What is the property? Check all that apply.
Single-family home
Duplex ar multi-unit outiding
Candeminium or cooperative
Manufactured or mobile hame
Land
Investment property

1.1,

 

Street address. if available, or other description

 

Timeshare
Other

City State ZIP Cade

UECUOULRLO

 

Who has an interest in the property? Check one
LA Bebtor 4 ony

CJ Debtor 2 only

CO) Debtor + and Debtor 2 only

LJ At least one of the debtors and another

 

Caounly

Oc not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule B:
Creditors Who Have Claims Secured by Property,

Current value ofthe Current value of the
entire property? portion you own?

3% 3
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CJ check if this is community property
(see instructions}

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:
What is the property? Check all that appiy.
Single-family home

12.
Street address, if avaiable. or other description

 

Ouplex or multi-unit building
Condominium or cooperative
Manufactured or mobile hame
Land

Investment property

 

Timeshare
Other

City State ZIP Cade

OUOOUcOoOoOooO

Who has an interest in the property? Check one.
LJ Debtor 1 only

CI Gebior 2 only

Ld] Debtor 1 and Gebtor 2 only

(1 Atleast one of the debtors and another

 

County

Do not deduct sécured claims or exemptions. Put -
tha amount of any secured claims. on Schedulé.D;
Creditors Who Have Claints Secured by Property:

Current value ofthe Current value of the ©
entire property? portion you own?
$ $

Describe the nature of your ownership
Interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

(QL) Check if this is community property
(see instructions}

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B

Schedule AIB: Property

page 1

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 13 of 88

Sabrina Danielle

Debtor 1

Victory

 

First Name Middle Name Last Name

1.3,
Street address, if available, or other description

 

 

 

City State ZIP Code

 

County

2. Add the dollar value of the portion you own for alt of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. 0000. ccccecteeceeeetecsensuseesseetevseegentuueeees cyteeaeeanene >

EBA vescrive Your Vehicles

What is the property? Check ail that apply.
(J Single-family home

C] Duplex or multi-unit building

(4 Condominium or cooperative

(J Manufactured or mobile home

Ld Land

C) Investment property

LI timeshare

LI other

 

Whe has an interest in the property? Check one.

CJ Debtor 4 only

CQ) pebtor 2 oniy

C) Debter 1 and Debtor 2 only

CL) At least one of the debtors and another

Case number ot kaw,

 

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule O:

Credifors Who Have Claims Secured by Property.

 

Currant value ot the Current value of the .
entire property? portion you own?

5 $
Describe the nature of your ownership

Interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

L) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it an Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C) No
Wd ves
34. Make: Subaru
Mode: Crosstrek
Year 2018
50000

Approximate mileage:

Other information:

sfagtade2je2s7746

\f you own or have mare than ane, describe here:

3.2 Make: Nissan
Model: Rogue
Year. 2015
Approximate mileage:

Other information:
ni at2mt2ic761 4 109

Official Form 106A/B

Who has an interest in the property? Check one.

i Debtor 4 only

QC) pebtar 2 only

C) Debtor 1 and Debtor 2 only

2] Atleast one of the debtors and another

CL] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

[J Debtor 1 only

CQ) Debtor 2 only

L) Debtor 1 and Debtor 2 only

4 At least one of the debtors and another

C) check if this is community property (see
instructions)

Schedule A/B: Property

Do nat deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims: ‘Secured by Property.

Current value of the
entire property?

Current value of the :
portion you own?

s 20,000.00 5 — 20,000.00

 

Da not deduct secured. claims or.exemptions. Put
the amount of any secured claims on Schedule D-
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

5 14,513.00 5 _ 14,513.00

 

page 2

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 14 of 88

 

Debtor 1 Sabrina Danielle Victory Case number tirtnown
First Narme Middie Name Last Name
43. Make: Hyundai Who has an interest in the property? Check one.
Madel: Elantra Cd] Debter 1 only
y WA Debter 2 only
ear:
(J Debtor 1 and Debtor 2 only
Approximate mileage: CJ At teast one of the debtors and another
Other information:
An AA EROFOn L] Check if this is community property (see
:kmhdn4ae4 qu608730 ingtractions)
3.4. Make: Who has an interest in the property? Check one.
Model: (3 Deptor 4 only
CQ debtor 2 only
Year:

Approximate mileage:

Other infarmation:

LI Debtor 1 and Debtor 2 only
(J At least one of the debtors and another

C) Check if this is community property (see
instructions)

 

Do not deduct secured claims or exemotions: Put
the amount of any secured claims an Schedule D:
Creditors Who Have Claims Secured by Praperty.

Current value of the Current value of the
entire property? portion you own?

5 7,604.00 7,604.00

 

Do nat deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule 0:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessaries

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmebiles, motorcycle accessories

No

QO) yes

4.1, Make:
Model:
Year:

Other informatian:

If you own or have more than one, list here:

42. Wake:
Model:
Year.

Other information:

Who has an interest in the property? Check one.
L) pebtor 4 only

LJ Debtor 2 oniy

(J Sebtor 1 and Debtor 2 anty

(J At ieast one of the cebtors and another

Q) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Q) Debtor 1 oniy

U Debtor 2 only

C) Debtor 1 and Debtor 2 oniy

LJ at least one of the debtors and another

De not deduct secured claims or exemptions. Put
the amount of any Secured ciaims on Schedule BD:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exempttons. Put
jhe amount of any secured claims on Schedule D-
Creditors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

 

 

L) Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages ks; 42,117.00
you have attached for Part 2. Write that MUMMbOr MOLE oo cc ccccese ces sete sescscesavvesseneecectasseuseneeeeaneneansensaceeceuvaniemeeteesine vise >

Official Form 1G6A/B

Schedule A/B: Property

 

 

 

page 3

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 15 of 88

Debtor 1 Sabrina Danielle Victory Case nuMper (iv anavny

First Name Middle Name Last Name

 

 

 

Part 2: fl Describe Your Personal and Household items

c ue of th
Do you own or have any legal or equitable interest in any of the following items? urrent value of the

portion you.own?
Do not deduct secured claims

or exemptions,
_ 6 Household goods and furnishings
Examples: Major appliances, furniture. linans, china, kitchenware
Li Yes. Descrite......... is
7. Electronics
Examples: Televisions and radios: audio, video, sterea, and digital equipment; camputers, printers, Scanners; music
collections; electranic devices including cell phones, cameras, media players, games
4 No ve voce event ce eves ocean nseantens amaeaieiieacieniei cast acim cuneate ener at anime nisamnenii
CJ Yes. Describe... i$
: i
&. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art abjects;
stamp, coin, of baseball card collections; other collections, memorabilia, collectibles
J No bes vee bus ve . vee se egg co peeing tne cena
: 2
Ll Yes. Describe... is

%. Equipment for sports and hobbies

Examples: Sparts, photographic, exercise, and other hobby equiprnent; bicycles, pool tables, gclf clubs, skis; canoes
and kayaks; carpentry tools; Musical instruments

i No cee eunmtievuanass untntwnunst” winnie cuits ntiy tute vitae tne tes ng
OC) Yes, Describe...)

 

     

"10. Firearms
Examples. Pistols, rifles, snotguns, ammunition, and related equipment

WA No _ bose coca ene onan occa secs a bo poping emi ote ues cope ati
CJ Yes. Describe... 18

11. Clothes
Examples. Everyday clothes, furs, feather coats, designer wear, shoes, accessories

QO) No bes cane eset eae e ean be eee ee cans coe tne cence HEeeto  nntentte es en My
Wl Yas. Describe.......... Wearing Apparel | $ 100.00

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirlogm jewelry, watches, gems,
gold. silver

W No . : bee Lie bocce eeeetinsevtann est aeee . beim geceeeminie —y
C) Yes. Describe... ig

13. Non-farm animals
Examples: Dogs. tats, birds, horses

il Nao . See ee cates tat we mi ite ans ate emeetten san atin iieccnanetn aie manana anette
UO) ves. Describe........., a)

14. Any other personal and household items you did not already list, including any health aids you did not list

Md No
C) Yes. Give specific
IMforMaHON.

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 100.00
for Part 3. Write that number here ......... be ceesctie sasteses o ceeesansuabveaties fo cecscstsenanens co cccestteanaees voccte costae: cece sce DP

 

 

 

Official Form 106A/B Schedule AB: Property page 4

 
Debtor 1 Sabrina

Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 16 of 88

Danielle

Victory

Case number Gi known}

 

First Name

Middie Name cast Name

Ey Describe Your Financial Assets

Do you own ar have any legal or equitable interest in any of the following?

16. Gash

 

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

W No

i

17, Deposits of money

18. Bonds, mutual funds, or publicly traded stocks

Current-value of the
portion you own?

Do not deduct secured claims
or exemptions.’

 

 

 

 

 

 

 

 

 

 

 

 

an LLC, partnership, and joint venture

MW No

Q) Yes. Give specific
information about
them...

 

 

 

cece cee coteeniaeectites co ceneneaeeecttee tec genasint crc vcngeeceyaveantct cocoa Cash: oe. $
Examples’ Checking, savings, or other financial accounts: certificates of deposit; shares in credit unians, brokerage houses,
and other similar institutions. if you have multiple accaunts with the same institutian, jist each.
Institution name:
47.4, Checking account: Wells Fargo Acc#2077 $ 750.00
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: 3
17.8. Other financial account:
17.9. Other financial account: $
Examples: Bond funds, investment accounts with orokerage firms, money marke! accounts

Institution or issuer name:

$

$

$

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
Name of entity: % of ownership:
a
0% Wy $
G,
Q 9 %
Schedule A/B: Property page §

Official Form 1064/B
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 17 of 88

Debtor 1 Sabrina Danielle Victory Case number (itancwn

Fist Name Middle Name Last Name

 

 

20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer te someone by signing or delivering them.

7) No

LJ Yes. Give specific — 'ssuer name:
information about
them. $

 

 

 

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

wo
UL} Yes. List each
account separately. Type of account: Institution name:

401(k) or similar plan: Fidelity $ 742.00
Pension plan: 8
IRA: $
Retirement account $
Keagh: $
Additional account 5
Additional account: §

22. Security depasits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water}, telecommunications
companies, or others

 

 

 

 

 

 

 

 

 

 

 

Wd No
OD Yes oo. Institution name or individual:
Electric, 5
Gas: $
Heating ail: $
Security deposit on rental unit: §
Prepaid rent §
Telephone $
Water: 5
Rented furniture: 5
Other: 5
23. Annuities {A contract for a periodic payment of money to you, either for life or for a number of years)
ZI No
OV yes ene . issuer name and description:
$
$
$

 

Official Form 106A/B Schedule A/B: Property page 6
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 18 of 88

Detar 4 Sabrina Danielle Victory Case number Gransun

First Name Middle Mame Last Name

 

 

24. interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b1(1), 529A(b), and 529(b){1).
W No
QD ¥es oe

Institution name and description. Separately file the records of any interests.71 U.S.C. § 521(¢):

 

 

 

26. Trusts, equitable or future interests in property (ather than anything listed in line 1}, and rights or powers
exercisable for your benefit

VI No

QC] Yes. Give specific :
information about them... : 8

 

       

26. Patents, copyrights, trademarks, trade secrets, and other inteliectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

No

C) Yes. Give specific :
informatian about them. 48

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

1 No

CI Yes. Give specific
information about them..... /&

Money or property owed to you? Current value of the
portion you own?
Co not deduct secured
claims or exemptions.

28. Tax refunds owed to you

4 No errr armies eee aeeeteeeee ~ tee caer te ee fan eae eae ty

CL] Yes. Give specific information : Federal: 5
about them. including whether :
you already filed the returns : : State

and the tax years.
y Local: $

29, Family support
Examples: Past due or lump sum alimany, spousal support, child support, maintenance, divorce settlement, property settlement

1 No pooncnm ot iin a
i

L) Yes. Give specific information............. i

Alimony: $
. Maintenance: §
! Support: $
: Divorce settlement: $
Property settlement: 3
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans yau made to somecne else
WI No ;
C1 Yes. Give specific information... :

Official Form 1064/B Schedule A/B: Property page 7

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 19 of 88

Debtor 4 Sabrina Danielle Victory Case number urknown)

First Name Middle Name Las! Name

 

 

_ 31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA}: credit, homeowner's, or renters insurance

Q No

YW Yes. Name the insurance company

. = Company name: Beneficiary: Surrender or refund vaiue:
of each policy and list its value. .

State Farm §

 

 

 

32, Any interest in property that is due you from someone who has died

If you are the beneficiary cf a living trust. expect proceeds from a life insurance policy, or are currently entitled to receive
plaperty because someone has died.

WI No

CJ Yes. Give specitic infarmation.............

        

33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

A No

C] Yes. Describe each claim. occ

 

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

WA No

QI Yes. Describe each Claim,

35. Any financial assets you did not already list

Wd No cone . we sewn nans  uememuacnaeanens amrs aay

QO) ves. Give specific infarmation............

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here . . cece eeceengertiotiities fe yievenareie quinine w sneeneevcuresneciseccouineiitnenmetcet ccc $ 1,492.00

 

 

 

ae Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
il No. Goto Pans
C) Yes. Go te line 38.

Current value of the
portion you ows?

Co net deduct secured claims
OF exemptions.

38. Accounts receivable or commissions you already earned
CO No /
O) Yes. Describe...

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software. modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, électronic devices

UO No . Seek unten ues ua
LY Yes. Describe... ve $

Official Form 106A/B Schedule A/B: Property page 8

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 20 of 88

Debtar 4 Sabrina Danielle Victory Case number if tronn

First Name Middle Name Last Name

 

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

a Na 7 eee eee ee inte hie . ae dete a feces

(J Yes. Describe... $
41. Inventory

CJ No penne gente weanase 6248 geatetcuarany cat StH sgnatateieyseananeese eseuntice we uestanene #200) gegen oes immie qgeneeseuimmmaanveneesens ot :

Q) yes. Describe....... $

42. Interests in partnerships or joint ventures

C) Na
L) Yes. Describe...

 

 

Name of entity: % of ownership:
% $
% 5
Ww $

 

43. Customer lists, mailing lists, or other compilations
LY no
L] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 107¢441A))7

QQ no

L) Yes. Describe.......

44, Any business-related property you did not already list
QO) no

L} yes. Give specific
information ........-

 

 

 

 

 

we ££. 6 ff -

 

 

45. Add the doliar value of all of your entries from Part §, including any entries for pages you have attached $
for Part 5. Write that number here ooo cee secseisecavesvessarausessviteevesessiauctaveseeen uesssuseessuissiseesseestansessescen >

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Retated Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wd No. Ge to Part 7.
Ld Yes Go te line 47.
Current value of:the
portion you own? — :
Do not deduct secured claims
or exemptions,

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

UO No
Ove... . on cot a ve ce .

Official Form 106A/B Schedule A/B: Property page 9
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 21 of 88

Debter1 - Palbrina Danielle Victory

First Name Middle Name Last Name

Casé number tf krown

 

48. Crops—either growing or harvested

L} No . . . oo : vies than ecat even povconercnste toccaseanergeneeeitie sregeengtatnns a ancaveneameninis saecnuinesreeys macnunanenee!nvercneotn ,

C) Yes. Give specific :
information... ......... : §

: 49.Farm and fishing equipment, Implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

QC} No
OC) Yes ed
7 ; $
50.Farm and fishing supplies, chemicals, and feed
CI No
ves... be bo cent tae eaesite data atau cases se seen i avis # senmi anise |
:
. 1 §$
51. Any farm- and commercial fishing-related property you did not already list
Q No Rene
L] Yes. Give spesific :
information... ... i og
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here boc te esate cv eeettccse shat totttepeteereeesee oes eetieseeteceasessotsan sessetitaresseesenses >
Describe All Property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
a No
Li Yes. Give specific i $
information. ............ : $
3
54. Add the dollar vatue of all of your entries from Part 7. Write that number here ............... ce cegnit tice coeenteaetensees vest tseccaeets > $
List the Totals of Each Part of this Form
5a. Part 13 Total reat estate, Vine 2c ce ecccereteneeee es ecseres tesceceesemneeeenentes cc csetesssepestntntnussiaviseittsiniitiessimreseawseessaree > § 0.00
56. Part 2: Total vehicles, jine 5 $ 42,117.00
57. Part 3: Total personal and household items, line 75 $ 100.00
56 Part 4: Total financial assets, line 36 $ 1,492.00
59. Part 5: Total business-related property, line 45 3
60. Part 6: Total farm- and fishing-refated property, line 52 5
41.Part 7: Tatal ather property not listed, line 54 +3
62. Total personal property. Add lines 56 through 61... : § 43,709.00 Copy personal property total +3 43,709.00
63. Total of all property on Schedule A/B. Add line 95 + line 82... eet csett et cce ue sttepereessestnetius ccpeetitaaea § 43,709.00

 

 

 

Official Form 1064/8 Schedule A/B:; Property page 10

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 22 of 88

Fill in this information to identify your case:

Debtor 1 Sabrina Danielle Victory

First Mame Middle Name Last Name

Debtor 2 Brianna Elizabeth Victory

 

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number CL} Check if this is an
Ut know) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If wo married people are fling together, bath are equaily responsibie for supplying correct information.
Using the property you listed on Schedule AB, Property (Official Form 1064/8) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2) Additional Page as necessary. On the tap of any additionaf pages, write
your name and case number (if known)

 

For each item of praperty you claim as exempt, you must specify the amount of the exemption yau claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular doar amount and the value of the property is determinad to exceed that amount, your exemption
would be limited to the applicable statutory amount

io Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one anly, even if your spouse is filing with you.

wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § $22(b)(3)
LI You are claiming federal exemptions. 11 U.S.C. § 522(b}(2}

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and iine on = Gurrent value of the Amaunt of the exemption you claim Specific laws that allow exemption

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one Sox for each exemption.

Schedule AB .
Ore ption: 2018 Subaru § 20,000.00 Ws 20,000.00 Fla. Stat.§222.25:222.25(1);
Line from C) 1G0% of fair market value, up to Fla, Const. Art. x § 4(a)(2);
Schedule A/B 3.1 any applicable statutory limit
Sescrpion, -2015-Nissan s 14,513.00 Wis 14,513.00 Fla. Stat. §222.25:222.25(1);
Line fram L] 100% of fair market value, up to Fla. Const. Art. x § 4fay(2);
Schedule A/B: 32 any applicable statutory limit
Goscrpton,  tiyundai Elantra 3 7,604.00 Ws 7,604.00 Fla. Stat.§222.25;222 25(1);

ption: a ae ’

Line from 100% of fair market value, upto “Fla. Const. Art. X § 4(a)(2):
Schedule AB 3B any applicable statutary limit

3. Are you claiming a homestead exemption of mare than $170,250?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

WM No

CI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

wi No
L) Yes

Official Form 106C Schedule C: The Property You Ciaim as Exempt page 1of__

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 23 of 88

 

 

 

 

 

 

 

 

 

Debtor 4 Sabrina Danielle Victory Case number uf ancwn)
First Name Middle Name Lasl Name
EE 2sisons Page
Brief description of the property and line Current value of the  =Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Capy the value from Check only one box for each exemption
Schedule A/B
Brief 222.25(4)
description: Clothes s_ 100.00 fs 100.00 Const. Art. X.
Line from 11 Cl 100% of fair market value, up to § A(a 2)
Sehedule A/B: any applicable statutory limit
Bret 222.25(4
description: Deposits... 750.00 Ws 750.00 Const a x
Line from LJ 100% of fair market value, up to § A(a)(2) o
Schedule A‘ AZ A any applicable statutory limit
Brief 222,25(4)
description: Retirement $ 742.00 Ws_ 742.00 Const. Art. X
Line fram mr Ld 700% of fair market value, up to § 4(a\(2) _
Schedule 4/8: any applicable statutary limit
Brief Life Insurance 5 ws 222.25(4)
description: a oe Const. Art. X.
Line from 31 CJ 100% of fair market value, up to g§ A(a\(2)
Schedule AB. any applicable statutory limit
Brief
description: a Qs
Line from L) 100% of fair market value, up to
Schedule A‘B.  ———— any applicable statutory limit
Brief
description: we $ GG
Line from CL} 100% of fairy market value, up to
Schedule AYB: any applicable statutory dimit
Brief
description; § ——————————_-_- $L___e Ls
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: —————_____—. Qs
Line from CY 100% af fair market value, up to
Schedule A/B. ——— any applicable statutory limit
Brief
description: a eee—a sCiéid SG
Line fram L) 100% of fair market value, up ta
Schedule A7B. any applicable statutory limit
Brief
description: a
Line from LJ 100% of fair market value, up to
Schedule A/B any applicable statutory limit
Brief
description: ——_——_—_—_——— $ Os
Line from C) 100% of fair market value, up to
Schedule A‘B> ———— any applicable statutory limit
Brief
description. § —————_—————-_._ 3 Og
Line fram CL) 100% of fair market value, up to
Schedule A4/Bo any applicable stalutary hmit

Official Form 106C Schedule C: The Property You Claim as Exempt page 2. of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 24 of 88

Fill in this information to identify your case:

Debtor? 2 albrina Danielle Victory

First Name Middle Name Last Name

Debtor 2 Brianna Elizabeth Victory

 

 

(Spouse, if fling) First Mame Middle Name Last Mame
United States Bankruptcy Court for the: Middle District of Flarida

Case number

(If known) CJ Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number {if known),

 

4. Go any creditors have claims secured by your property?
CL] No. Check this box and submit this form to the court with your other schedules. You have nathing aise to report on this form.
wi Yes. Fill in all of the information below.

Core tis: All Secured Claims

5

  

Commun A” SGolunin O°"
, 2. Listall sacured claims. lf a creditor has mare than one secured claim, list the creditor separately Amount of ‘claim Value of. coliaterat .Ursecured ¢
: for each claim. If more than ane creditor has a particutar claim, list the other creditors in Part 2. on iétthe’. & that supports this: :-pe Ane:

AS Much as possible, list the claims in alphabetical order according to the creditor's name. ;

 

 

 

 

 

Hyundai Finance Describe the property that secures the claim: 3 11,636.00 $ 7,604.00 $ 4,032.00
Creditar's Name - ceereoamn noes epee et tn ement i
10550 Talbert Ave Hyundai Elantra
Numer Street

As of the date you file, the claim is: Check @ all that apply.

O Contingent
Fountain Valley CA 92708 1 Unliouidated

 

 

City State ZIP Code | Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
debtor 1 only | An agreement you made (such as mortgage or secured
Gd Debtor 2 ony car loan}
{J Debtor 1 and Debtor 2 only U Statutory lien (Such as tax lien, machanic’s lien}
(4 Atleast one of the debtors and ancither Ub Judgment lien from a lawsuit

Q) other (including a right to offset)
[Check if this claim relates to a

community debt

 

 

 

 

 

 

  

 

 

Date debt was incurred OS/O4/201E Last 4 digits of account number .
JPMCB Auto Finance Describe the property that s secures the claim: $ 25 763. 00 $. _ 20,000.00 s_5,763.00 |
Creditors Name fermen ree ete
PO Box 901003 Subaru Crosstek
Number street : ent cectie ee anatie Hakcnnmant © cgunyentlahtenentua eas tanaee namie seta erat aneersernesenaie
As of the date you file, the claim is: Check all that apply.
a Contingent

Fortworth TX 76701 OD unliquidated

Cily State ZIP Code Q Disputed

Who owes the debt? Check one. Nature of lien. Check ail that apply.

Sf Debtor 1 only TT An agreement you made (such as mortgage or secured

QO) debtor 2 only car loan}

{) Debtor 4 and Debtor 2 only QO Statutory lien (such as tax hen, mechanic's lien}

LJ Atleast one of the debtors and another Q) Judgment tien from a lawsuil

iA) Other (including a right te offset)

QO) Check if this ciaim relates to a
community debt

Date debt was incurred on, east 4 digits of account number __

Add the dollar value of your entries | in Column A on this page. Write that number here:

 

Official Form 106D Schedule B: Creditors Who Have Claims Secured by Property page tof

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 25 of 88

Debtor 1 Sabrina Danietle Victory Case number or kiowa)

 

First Name Middle Name

Additional Page

 

by 2.4, and So farth.

After listing any entries on this page, number them beginning with 2.3, followed

 

Last Name

 

 

 

Nissan Acceptance Ca

 

Creditors Name

PO Box 660360

 

 

 

Number Street
Dallas TX 75266
City State 2/F Code

Who owes the debt? Check one

CI Debtor 1 only
O Debtor 2 only
CQ] Debtor 1 and Debtor 2 only
At least one of the debtors and another

(J Check if this claim relates to a
community debt

Date debt was incurre

 

 

 

Creditors Name

 

Humber Street

 

City State ZIP Cade

Who owes the debt? Check one.

oO

Debtor 1 only

Q) Debtor 2 only

Ld Cebtor 1 and Debtor 2 only

( Atieast one of the debtors and another
a)

Check if this claim relates to a
community debt

Date debt was incurred

 

Creditors Name

 

Number Street

 

 

City State ZIP Code

Who owes the debt? Check one.

Debtor 1 anly

Debtor 2 only

Debtor 1 and Debtor 2 only

Atleast one of the debtors and another

UO Oooo

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: 5 14,545.00
If this is the last page of your form, add the dollar value totals from all pages.
pag y pag is 51,944.00

Write that number here:

! 2015 Nissan Rogue

14,513.00

 

   

Describe the property that secures the claim:

As of the date you fite, the claim ig: Check all that apply.

oO Contingent

LL) Untiquidated

1 Disputed

Nature of lien. Check all that apply

ww An agreement you made (such as mortgage or secured
car igan)

Oo Statutory lien (such as tax lien, mechanic's lien)

OO Judgment iien from a lawsuit

J other dncluding a right to offset)

Last 4 digits of account number

 

Describe the property that secures the claim: $ $ $

 

 

As of the date you file, the claim is: Check all that apply.
Q Contingent

2 Uniiquidated

QO Disputed

Nature of lien. Check all that apply.

QC) An agréement you made {such as mortgage or secured
car loan)

Statutory lien (Such as tax lien, mechanic's lien)
Judgment tien from a lawsuit

Other (including a right to offset)

Ooo

Last 4 digits of accountnumber

 

As of the date you file, the claim is: Check all that apply.
LY Contingent

QD unliquidated

Q Disputed

 

Nature of lien. Check all that apply.

CO an agreement you made (such as mortgage or Secured
car loan)

Statutory Hien (such as tax hen, mechanic's lien)
Judgment lien from a lawsuit

Other (inchuding a right io offset)

Ooc

Last 4 digits of accountnumber

 

 

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page sof

 
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Danielle

Middle Name Last Name

Sabrina

First Name

Debtor 1 Victory Case number known)

 

BRE List others to Be Notified for a Debt That You Already Listed

. Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if.a collection / |
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency. here, Similarly, if.

you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. H you do not have additional persons to

be notified for any debts in Part 1, do not fill out of submit this page.

:

a

 

Name

 

Number

Street

 

 

City

State

ZIP Code

 

Name

 

Number

Street

 

 

City

State

Z/P Code

 

Name

 

Number

City

Street

 

State

ZIP Code

 

Name

 

Number

Street

 

 

City

ZIP Code

 

Name

 

Number

Street

 

 

City

State

ZIP Cade

 

Name

 

Number

Sireet

 

 

City

Official Farm 106D

State

ZIP Code

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

On which fine in Part 1 did you enter the creditor?

Last 4 digits of account number

 

Last 4 digits of account number

On which line in Part 1 did you enter the creditor?

Last 4 digits of account number

On which line in Part 7 did you enter the creditor?

Last 4 digits of accaunt number

Last 4 digits of account number____

On which line in Part 1 did you enter the creditor?

Last 4 digits of account number _

page ___of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 27 of 88

Fill in this information to identify your case:

Debtor? 0 aabrina Danielle Victory

First Name Midtle Name Last Name

Debtor 2 Brianna Elizabeth Victory

 

 

(Spouse. if filing) First Name Middle Mame Last Name

United States Bankruptcy Court for the: Micdle District of Florida

5 UL] Cheek if this is an
feo amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it gut, number the entries in the boxes on the left, Attach the Continuation Page to this page. On the tap of
any additional pages, write your name and case number {if known).

 

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
fd No. Go to Part 2.

CJ Yes.

2. List all of your priority unsecured claims. If a craditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and shaw both: priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. ff more than one creditor holds.a particular claim, list {he other creditors in Part 3.

(For an explanation of aach type of claim, see the instructions for this form in the instruction booktet.)

 

 

 

 

 

 

2.1
| | Last4 digits ofaccountnumber ss ss 8 §.
Priocity Crediter’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
City Siae IP Code U1 Contingent

CY Untiquidated

Who incurred the dabt? Check one OQ) disputed

UJ Debtar 1 only
LY bebtor 2 only Type of PRIORITY unsecured claim:
©) Debtor 1 and Debtor 2 only

LY Domestic support obligations
©) Atleast one of the debtors and another

Q) Taxes and certain other debts you owe the government

UO Check if this claim is for a community debt Q) Claims for death or personal injury while you were

 

 

 

   

 

 

 

 

 

Is the claim subject to offset? intoxicated
UJ Noe CL) dther. Specify
es .
Ip.2 va
Last 4 digits of accountnumber og $ 5
Priority Creditors Name
When was the debt incurred?
Nurnber Street
As of the date you file, the claim is: Check all that apply
a Contingent
City Slate ZIP Code Q) unliquidated
Who incurred the debt? Check one OQ) disputed

L) pebter 4 only

Type of PRIORITY unsecured claim:
CI] Debtor 2 only yP 0 '

 

OO debtor + and Debtor 2 only (3 comestic Supper obligations

OC atleast one of the debtors and another Cl] Taxes and certain other debts you owe the government
C1 Check if this claim is for a community debt u lains for death or personal injury while you were

Is the claim subject to offset? CJ other. Specity

OU Nc

1 ves

Official Form 1706E/F Schedule E/F: Creditors Who Have Unsecured Claims pageitof_

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 28 of 88

Sabrina Daniella

Debtor 1

Victory

Case Number (it kncwn)

 

First Name Middle Name Last Name

cree your PRIORITY Unsecured Claims — Continuation Page

> After listing any entries on this page, number them beginning with 2,3, followed by 2.4, and so forth.

Priority Creditors Name

 

 

Number Streat

 

 

Cily State ZIP Code

Whe incurred the debt? Check one.

CY Debtor 1 only

LI debtor 2 only

(4 Debtor 4 and Debtor 2 only

UL] Atleast one of the debtors and another

LI Check if this claim is for a community debt

Is the claim subject to offset?

LI No
OC ves

 

Prority Creditors Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check ane

L) pebtor 1 only

QC) pebter 2 only

O Debtor t and Debtor 2 only

CF Atleast one of the debtors and anather

() Check if this claim is for a community debt

Is the claim subject to offset?

 

Priority Creditors Name

 

Number Streel

 

 

City State ZIP Code

Who incurred the debt? Check one.

CU pebtor 1 only

Q) Debtor 2 only

{3 Debtor 1 and Debtor 2 only

CJ atleast one of the debtors and another

Q] Check if this claim is for a community debt

Is the claim subject to offset?

QO Ne
Lb Yes

Last 4 digits of account number $ $ 5

 

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CQ Contingent
(1 Unliquidated
LI Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
CJ Taxes and certain other debts you owe the government

QJ Ciaims for death or personal injury while you were
intoxicated

Q) other. Specity

 

 

 

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Q Contingent
O Unliguidated
(J disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts yau owe the goverment

Claims for death or personal injury while you were
intoxicated

Other. Specity

O ooo

 

 

 

Last 4 digits of account number $ $ $
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
(2 unliquidated
QO Disputed

Type of PRIORITY unsecured claim:

C) Domestic support obligations
Taxes and certain other debts you owé the govemment

intoxicated

 

QO
QI claims for death or personal injury whilé you were
Oo

Other. Specify

 

Official Form 706E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 29 of 88

Sabrina Danielle

Debtor 1

Victory

Case number (i knawn)

 

First Name Middle Narre lasl Name

Ey List All of Your NONPRIORITY Unsecured Claims

 

 

: 3. Do any creditors have nonpriority unsecured claims against you?

L) No. You have nothing to report in this part. Submit this farm to the caurt with your other schedules.

Yes

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a crediter has more than-one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if mare than one creditor hotds a particular claim, fist the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Ascend Federal Credi

 

 

 

 

 

 

Last 4 digits of account number 0 ot ms TF

 

 

 

 

 

 

 

Monpriority Creditar's Name $ 1 1 237.06 :
550 WM Northern Blyd When was the debt incurred? 08/29/2016 :
Number Sireet
Tullahoma TN 37388
City State ZIP Code As of the date you file, the claim is: Check all that apply.
CJ Contingent
Who incurred the debt? Check one. C] unliquidated
A Debtor 1 only QQ Disputed
Q Debtor 2 only
QQ Debtor 1 and Debter 2 only Type of NONPRIORITY unsecured claim:
CJ At least one of the debtors and another O Student loans :
CJ Check if this claim is for a community debt QI obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
is the claim subject to offset? {1} Cebts to pension or profit-sharing plans, and other similar debts
J No Cther. Specify
CJ ves :
42 ATT Mability Last 4 digits of account number ss 769.00
Noeneriorily Grediturs Name When was the debt incurred? 09/01/2018 :
1025 Lenox Park Blvd NE,
Number Street
Atlanta GA 30319 As of the date you file, the claim is: Check all that apply.
city State ZIP Cade OQ Contingent
Who incurred the debt? Cresk one A) unliquidated
CI Gebtor 1 only 1 disputed
a Debtor 2 only .
2 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ At least one of the debtors and another Q) Student loans
bake 4 ; (2 Obligations arising out of a separation agreement or diverce
Cl Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? CT Debts ta pension or profit-sharing plans, and other similar debts
“i No of Other, Specify
C) ves
Is Austin Peay Last 4 digits of accountnumber 2 1 3 7
Nonpnorty Creditors Nanre 3.

601 College St

 

 

Number Streel
Clarksville TN 37044
City State ZlP Code

Who incurred the debt? Check ane

7 Detar 1 only

LI Debtor 2 only

(©) Bebter 1 and Debtor 2 oniy

CI At teast one of the debtors and another

CJ] Check if this claim is for a community debt

Is the claim subject to offset?

VM No
D) ves

Official Form 106E/F

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a) Contingent
OC) Uniiquidated
O Disputed

Type of NONPRIORITY unsecured claim:

LF Student loans

Qo Obligations arising out of a separation agreement or divorce
that you did net report as priority claims

C1 debts ta pensian or profit-sharing plans, and other similar debts

id Other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

2,544.00 |

page _af_

 

 
Debtor 1

Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 30 of 88

Sabrina Danielle

Victory

 

First Name Middle Name Last Name

Case number (it grown)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

/ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth,

 

4.4

 

 

 

 

Official Form 106E/F

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one

4 Debtor 1 only

QY debtor 2 only

Ct Debtor 1 and Debtor 2 only

C) Atieast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

QL) No
wi Yes

CI Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

1 Student ioans

Q Obligations arising cut of a separation agreement or divorce that
you did not report as priority claims

 pebts to pension or profit-sharing plans, and other similar debts
Wi other. Specity. Credit cards

Schedule E/F: Creditors Who Have Unsecured Claims

Barclays Bank Delawa Last 4 digits of account number 3_ 2,504.00:
Nonpriarity Creditors Name 5
i 7 06/23/2016
PO Box 8803 When was the debt incurred?
Number Street
en th ile, th im is: Kk .
Witmington DE 49899 As of the date you file, the claim is: Check all that apply
Cily Slate ZIP Code CJ contingent
Unliquidate :
CQ) uni d
Who incurred the debt? Check one. UO disputed
| Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim: i
4 Debtor 1 and Debtor 2 only O) Student Inans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that :
LI Check if this claim is fora community debt you did nat report as pearity chairs _ \
CJ pebts to pension or profit-sharing plans, and other similar debts i
Is the claim subject to offset? A other. Specity
wf No
CY ves
— ow ass eemesvienn ew
Capital One NA Last 4 digits of accountnumbey 3 2) 7 5 $ 872.00 |
Nanpriority Creditors Name
When was the debt incurred? 06/21/2018
PO Box 85015 OT
Number Street
. A the date you file, the claim is: Check all that ly.
Richmond VA 23285 # of the date you file im Is: Check all that apply
City Stale ZIP Code UL) centingent
QD Unliquidated
Who incurred the debt? Check one O bisputea :
C) Debtor 1 only
Md debtor 2 only Type of NONPRIORITY unsecured claim:
5 Dester 1 and Debtor 2 only O student leans
Atleast one of the debtors and another OQ Obligatians arising out of a separation agreement or divorce that
QU) Check if this claim is for a community debt you did not report as priority claims ;
C1 debts to pension or profit-sharing plans, and other similar debts
's the claim subject to offset? J Other. Specify
a No
CI ves ‘
i
3 1,377.00.
Capital One Bank USA Last 4 digits of account number i
Nanprionty Credilor's Name
When was the debt incurred? 10/08/2017
PO Box 30285 re
Number Street
. As of the date you file, the claim is: Check all that ly.
Salt Lake City UT 84130 $ ormne fare youre ewan sen aus ePey
City State ZIP Code © Contingent

page of_

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 31 of 88

Danielle

Middle Name Last Name

Sabrina

First Name

Victory

Debtor 4

Case number tf known)

 

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

67] Capital One Northland Group

 

Nonpriofily Creditor's Name

P.O.Box 390846

 

Number Street

Minneapolis MN

55439

 

City Stale

Who incurred the debt? Check one.

LY pebtor 1 only

| Debtor 2 orily

O] Debtor 1 and Debter 2 only

C) Atleast one of the debtors and another

Cl Check if this claim is for a community debt

Is the claim subject to offset?

wi No
UI yes

 

Chula Vista Emergency Room Phy

ZIP Code

 

Nonpriority Creditar's Narne

P.O. BOX 1698

 

Number Street

Arcadia CA

91077

 

city State

Who incurred the debt? Check one.

J Debtor 1 only

Fi Debtor 2 only

C] Debtor 1 and Debtor 2 only

QC Atleast one of the debtors and another

1 Check if this claim is for a community debt

Is the claim subject to offset?

bd No
C) ves

Chula Vista

ZIP Code

 

Nonpriorily Creditor's Name

50420

 

Number Street

Los Angeles CA

90074

 

Cily Slate

Who incurred the debt? Check one.

2 Debtor 1 only

| Debtor 2 only

C1 Detter 1 and Gebtor 2 only

(1 At least one of the debtors and another

4 Check if this claim is for a community debt
Is the claim subject to offset?

is) No

C) ves

Official Form 106E/F

ZIP Code

Last 4 digits of account number _
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C) Contingent
QO) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

CI Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(I Debts to pension or profit-sharing plans, and other similar debts

Af Other. Specify

 

§ 922.72:

 

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply

CJ] contingent
CD Unliquidated
Q) pisputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

QO Obligations arising out of a separation agreement or divarce that
you did not report as priority claims

1 Debts to pension or profit-sharing plans, and other similar debts

| Other. Specify

 

08/31/2013
f9 8 7 s__ 329.00.
ewer in spe ng aapenaranieerwnninenisne ~ T SUES"

Last 4 digits of accountnumber 6 6 7 0

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Oo Cantingent
QO Unliquidated
C] Disputed

Type of NONPRIORITY unsecured claim:

C1 Student loans

QO Obligations arising aut of a separation agreement or divorce that
you did aot report as priority aims

CL] Debits to pension or profit-sharing plans, and other similar debts
Wi Other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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Debto

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rd Sabrina Danielle Victory

 

First Name Middle Name Las! Name

Case number (if known)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

- After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and se forth.

Official Form 106E/F

 

 

 

 

 

 

 

 

 

 

Citicards CBNA Last 4 digits of account number _ 5 778.00
Nonpnerity Creditors Name ;
7O1E 60th St N When was the debt incurred? 08/31/2013
Number Streel . soe
Sioux Falls SD 57104 As of the date you file, the claim is: Check ail that apply
City Stale ZIP Cade ) Contingent
CO) Unliquidated
Who incurred the debt? Check one. CO} bisputed
| Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
= Debtor 1 and Debtor 2 only O) Student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that :
QO) Check if this claim is fora community debt you did not report as priority claims :
edits to pension or profil-snaring plans, ana other similar depts
CO) cebts t i fit-sharing pl d other similar debt
Is the claim Subject to offset? Mf cther Specify Credit cards
A No
) yes
Comenity Bank Last 4 digits of account number Le 3 543.00:
— i
Nonpricrity Greditor's Name :
When was the debt incurred? 04/28/2017 :
2795 East Cottonwood Parkway Ste 100 oo
Number Street . wo,
Salt Lake City UT 84092 As of the date you file, the claim is: Check all that apply.
oy State ZIP Code © Contingent

Who incurred the debt? Check one.

CI Debdter 1 only

| Oebtor 2 only

Q) debtor 1 and Debtor 2 only

D2 Atleast one of the debtors and another

CL] Check if this ctaim is for a community debt

Is the claim subject to offset?

bd No
CL] ves

Credit One Bank

 

 

Nonprionty Creditors Name

Po Box 98872

 

 

Number Sleet
Las Vegas NV 89193
City Slate ZIP Cade

Who incurred the debt? Check one.

) Debtor 1 only

CI Debtor 2 only

DD debtar 1 and Debtor 2 only

LI Atieast one of the debtors and another

C) Check if this claim is for a community debt

\s ihe claim subject to offset?

| Noa
C] Yes

C} unliquidated
1 visputed

Type of NONPRIORITY unsecured claim:

C} Stucent loans

Q Obligations arising out of a separation agreement or divarce that
you did not report as priority claims

LI Debts to pension or profit-sharing plans, and other similar debts
| Other. Specify

 

 

Last 4 digits of account number ___

06/18/2018

When was the debt incurred?

As of the date you file, the claim is: Check al! that apply.

O Contingent
CF unliquidated
C) Disputed

Type of NONPRIGRITY unsecured claim:

Student ioans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

BO OO

Schedule E/F: Creditors Who Have Unsecured Claims

5 403.21

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Debtor 1

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Sabrina Danielle Victory

 

First Name Middle Name Last Narre

Case number (if snown),

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

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4

 

 

 

 

Official Form 106E/F

Crossroads urgent care, PLLC

Nonpriority Creditor's Name

1690 Fort Campbell Blvd

Number Street

Clarksville TN

City State

 

 

37042

ZIP Code

 

Who incurred the deht? Check one.

C2) debtor 1 only

4 Debtor 2 only

C] Detter 4 and Debtor 2 only

C] At teast one of the debtors and another

C1 Check if this claim is for a community debt

is the claim subject to offset?

| No
Cl ves

Last 4 digits of account number

06/18/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a] Contingent
O unliquidated
1 Disputed

Type of NONPRIORITY unsecured claim:

L) Student loans

a) Obligations arising out of 4 separation agreement or divorce that
you did not report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

| Other. Soecify

 

 

Cumberland Pathology Associates,
Nanpriority Crediter's Name

651 Dunlop Lane

Number Streel

Glarksville TN

City State

 

 

37043

ZIP Code

 

Who incurred the debt? Creck one.

Wj Debtor 1 only

CJ Debtor 2 only

WA Debter + and Debtar 2 only

(J At least one of the debtors and another

C} Check if this claim is fora community debt

Is the claim subject to offset?
ws No
UO yes

Dept of ED/Navient

Nonprianty Creditor’s Name

PO Box 9655

Number Street

Wilkes-Barre PA

Cily Slate

 

 

18773

ZIP Code

 

Who incurred the debt? Check one.

J Debtor 1 only

3 Bettor 2 only

L] Debtor 1 and Debtor 2 only

(LL) Atieast one of the debtors and another

L) Check if this claim is for a community debt

Is the claim subject to offset?

wi No
CJ ves

Last 4 digits of account number

06/18/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C] Cantingent
QO Unitiquidated
a Disputed

Type of NONPRIORITY unsecured claim:

Student loans

L) Obligations arising out of a separation agreement or divorce that
you did nat report as priority claims

2 debts to pension or profit-sharing plans, and other similar debis

bd Other. Specity.

 

Last 4 digits of account number

09/02/2016

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

) Contingent
L4 unliquidated
QO Disputed

Type of NONPRIORITY unsecured Clair:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify.

OL Of

Schedule E/F: Creditors Who Have Unsecured Claims

5 1,801.00:

 

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Debtor 1 Sabrina Danielle Victory Case number tirkaun,

First Name Middle Name Last Name

 

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

.
aes Dept of ED/Navient Last 4 digits ofaccountnumber
Nonpriority Greditor’s Name
w ti > 11/05/2013
PO Box 9655 hen was the debt incurred
Number Stree:
i fi im is: .
Wilkes-Barre PA 18773 As of the date you file, the claim is: Check all that apply
City Stare ZiP Gode Q) contingent
QC) unliquidated

Who incurred the debt? Check one
LY debtor 1 only

(A Debtor 2 only Type of NONPRIORITY unsecured claim:
(CY Detter t and Debter 2 only

CI) At least one of the debtors and another

QO Disputed

Student loans

Qbligations arising out of a separation agreement or divorce that
you did nat report as priority claims

Cebts to pension or profit-sharing plans, and other similar debts
Other. Specify

Q) Check if this claim is for a community debt

Oc OR

Is the claim subject to offset?

BA Nc

 

 

 

 

 

QO Yes
Dept of ED/Navient Last 4 digits of accountnumber 5 4,161.00:
Nonprionity Crecitor's Name :
PO Box 9655 When was the debt incurred? 10/47/2008 i
Number Street | , :
Wilkes-Barre PA 18773 As of the date you file, the claim is: Checs all that apply.
City State ZIP Code LJ) Contingent

. 9 Q Untiquidated
Who incurred the debt? Check one. g Disputed

Cl] Debtor 1 only
4 Debter 2 only Type of NONPRIORITY unsecured claim:
Q) Debtor 1 and Destor 2 only

a Student loans
(C4 atieast one of the debtors and another

| Obiigations arising out of a separation agreement or divorce that
you did not repart as priority claims

C) Check if this claim is for a community debt .
Q) Debts to pension or profit-sharing plans, and other similar debts

 

 

 

 

Is the claim subject to offset? C1 other. Specify
a) No
QO) ves
= 10,581.00:
Dept of ED/Navient Last 4 digits of account number
Nanpriority Creditor's Name :
When was the debt incurred? 10/17/2008
PO Box 9655 °
Number Sirol As of the date you file, the claim is: Check all that appl
. $ of the date ile, the claim is: a
Wilkes-Barre PA 18773 you ener
Cily State ZIP Code oO Contingent
‘LE Unliquidated
Who incurred the debt? Check one. Q Disputed

4 Debtor 1 only
(J Debter 2 only Type of NONPRIGRITY unsecured claim:
QI Debter 1 and Debtor 2 only

uf Student loans
L] Atleast one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

) dents to pension or profit-sharing plans, and other similar debts
!g the claim subject to offset? (3 ther. Specify

a No
CI ves

QO) Check if this claim is for a community debt

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page af

 

 
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Debtor 1 Sabrina Danielle Victory Case number (if mnawny

Furst Mame Middle Name Last Name

 

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

    

 

 

 

 

 

 

 

 

 

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‘ :
| Dept of ED/Navient Last 4 digits of accountnumber 8 1,950.00
: Nonpriority Credilors Name :

PO Box 9655 When was the debt incurred? 01/26/2011 ;

Number Street - :

Wilkes-Barre PA 18773 As of the date you file, the claim is: Gheck all that apply. :

Cily Stata ZIP Code Q1 contingent

() Unliquidated

Who incurred the debt? Check one. D disputed

QO oebter 4 only

(4 Debtor 2 only Type of NONPRIORITY unsecured claim:

5 Debtor 1 and Debtor 2 only wt Student toans

Atleast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
LJ Check if this claim is for a community dept you did not report as priority claims
LI pests to pension or profit-sharing plans. and ather similar debts

Is the claim subject to offset? CI other. Specity i

of No :

UI ves
Dept of ED/Navient Last 4 digits of account number __- ______ $_4,343.00

Nonpriarity Creditor’s Name i

PO Box 9655 When was the debt incurred? 04/26/2011

Numaer Streel . og

Wilkes-Barre PA 18773 As of the date you file, the claim is: Check all that apply.

Cily Slate ZIP Code ) Contingent

. Q) Unliquidated

Who incurred the debt? Check one. C} pisputed

O) Debtor 1 only

WI Debtor 2 only Type of NONPRIORITY unsecured claim:

(J debtor + and Debtor 2 onty rif Student loans :

U) Atleast cne of the debtors and another Obligatians arising out of a separation agreement or divarce that

QO
you did not report as priority claims

Cl Debts to pension or profit-sharing plans, and other similar debts

QI) other Specify

CF Check if this claim is for a community debt

Is the claim subject to offset?

 

 

 

 

a No :
: ves
3 3,778.00.

Dept of ED/Navient Last 4 digits of account number :

Nonpricrity Creditors Name :

PO Box 9655 When was the debt incurred? 01/08/2013

Number Street . oe

Wilkes-Barre PA 18773 As of the date you file, the claim is: Crheck all that apply.

City State ZIP Code LL) contingent

unliquidated
Who incurred the debt? Check one. OO disputed

M Debtor 1 anly
C Debtor 2 only Type of NONPRIORITY unsecured claim:

Q) Debter 1 and Debtor 2 enly wi Student loans
LU) At east one of the debtors and another CJ obligations arising out of a separation agreement or divorce that
©) Check if this claim is fora cammunity debt you did net reper: as priority clams

C) debts ta pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CJ cther. Specify
A) No
UO ves

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
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Debtor 1 Sabrina Danielle Victory

 

First Name Middie Narne Last Name

Case number (it «nownt

 

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|
Dept of ED/Navient

 

Nonpriority Creditors Name

 

 

PO Box 9655

Number Street

Wilkes-Barre PA 18773
City State 4lP Cada

Who incurred the debt? Check one.

CI] debtor 1 any

4 Debtor 2 only

CL] Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

C) Check if this claim is fora community debt

ls the claim subject to offset?

wi Na
CO yes

Dept of ED/Navient

 

Nonpriority Creditor's Name

 

 

PO Box 9655

Number Street

Witkes-Barre PA 18773
City State ZIP Code

Who incurred the debt? Check one,

(4 Debtor 7 arly

CO) Debtor z only

_d Debtor 1 and Debtor 2 only

LJ Atteast one of the debtors and another

O) Check if this claim is for a community debt

ls the claim subject to offset?

bd No
Ob ves

 

Dept of Electricity _

 

Nonprterity Creditor's Name

2021 Wilma Rudolph Blyd

 

 

Number ‘Street
Clarksville TN 37040
City Stale ZIP Cade

Who incurred the debt? Check one.

MW Debtor 7 only

(4 Cebtes 2 only

LJ Debtor 1 and Debter 2 only

L) Atleast one of the debtors and another

(J Check if this claim is for a community debt

ls the claim subject to offset?

wt No
L) Yes

Official Farm 106E/F

 

Last4 digits of accountnumber $ 8,914.00:

When was the debt incurred? 01/08/2013

 

As of the date you file, the claim is: Check all that apply.

Cl TComingent
QO Unliguidated
CQ] Disputed

 

Type of NONPRIORITY unsecured claim:

wi Student loans

O Obligations arising out of a Separation agreement or divorce that
you did not report as priority claims

CI pebts ta pension or profit-sharing plans, and other similar debts
CL] other. Specify

 

¢_3,307.00:

Last 4 digits of account number

When was the debtincurred? 09/02/2016

As of the date you file, the claim is: Check all that apply.

a Contingent
C) Unliquidated
4 disputed

Type of NONPRIORITY unsecured claim:

oO Student loans

OQ Obligations arising out of a separation agreement or divorce that
you did net report as priority claims

2 pebts to pension or profit-sharing plans, and other similar debts
| Other. Specify.

 

Last 4 digits of account number

When was the debt incurred? 08/22/2018

As of the date you file, the claim is: Check all that apply.

| Contingent
(J unliquidated
Q) disputed

Type of NONPRIORITY unsecured claim:

QJ Student loans

CQ) Obligatians arising out of a separation agreement or divorce that
you did not report as priofity claims

CJ Debts to pension or profit-sharing plans, and other similar debts

2 Other. Specify.

 

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Debtor 1 Sabrina Danielle Victory

First Name Middle Name Las! Name

Case number tsnown)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

  

  
 

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; :
a Emer Phys Svcs NY PG Last 4 digits ofaccountnumber $ 48.00:
Nonpriority Creditor's Name ;
, bt incurred? O7/21/2018 |
1656 Champlin Ave When was the debt incurre'
manber Sie As of the date you file, the claim is: Check all that appl
: 9 ja : claim is: Chec!
Utica NY 13502 Ss e date you fi e claim is all that apply
City Stale ZIP Code C1 Contingent
CL} Unliquidated
Who incurred the debt? Check one. C1 pisputed
C] pebter 4 only i
a Debtor 2 only Type of NONPRIORITY unsecured claim: :
5 Debtar 1 and Debtar 2 only student leans
{
At least one of the debtors and another | Obligations arising out of a separation agreement or divorce that :
CI Check if this claim is for a community debt you di¢ not report ae peority claims
Q pebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? 4 other. Specify
of Noa
CI ves 5
2
FC Emergency Physcians Last 4 digits of account number s 651 00:
Nonprianty Crediter’s Name :
When was the debt incurred? 02/05/2016
17240 Cartez Bivd TT
Member ee As of the date you file, the claim is: Check all that app!
: s @ date ile, the claim is: Check all that apply.
Brooksville FL 34601 ° ¥ py
City State ZIP Code LJ ceatingent
; Ld Untiquidated
Who incurred the debt? Gheck one O disputed
2 debtor 4 only
4 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 enly O Student loans
Atleast one of the debtors and ancther I} Obligations arising out of a separation agreement or divorce that
(J Check if this claim is for a community debt you did not report as Priority claims ,
C1 pebts te pension or profit-sharing plans, and other similar debts
is the claim subject to offset? J Other. Specify
w No
CI ves
5 493.00.
: First National Credi Last 4 digits ofaccountnumber :

Monpricrity Creditors Narne

500 E 60th St N When was the debt incurred? 03/20/2016

Number Street

 

 

: As of the date you file, the claim is: Check all that apply.
Sioux Falls SD 57104 Y ee ey
Gily State ZiP Code QO Contingent

) Unliquidated
Who incurred the debt? Check one. LY pisputed

CI debtor 1 only
(4 Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only

r L) Student loans
[] Atleast one of the debtors and another

Q Obligations arising oui of a separation agraement of divorce that
you did not report as priority claims

Q) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? MW other, Specity Credit cards

Wai No

CJ ves

O) Check if this claim is for a community debt

Official Form 106E/F Schedule E/F: Creditors Wha Have Unsecured Claims page of

 
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Debtor 1 Sabrina Danielle Victory Case number (1 kaown)

First Name Middle Name Last Name

 

 

Your NONPRIORITY Unsecured Claims - Continuation Page

 

 

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4 i
First Premier Last 4 digits of account number gs 610.00°

Nonpriority Crediter's Narne

; When was the debt incurred? 10/27/2018

3820 N Louise Ave was ine debt incu oe

Number Streel . .

Sioux Falls SD 57107 As of the date you file, the claim is: Check ali that apply.

city State 7|P Code Q Contingent

gO Untiquidated
Who incurred the debt? Check one O) disputed

LY Debtor 1 only
(4 Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Bebter 1 and Debter 2 only

LJ Student loans
C] Atteast one of the debtors and ancther

ol Obligations arising out of a separation agreement ar divarce that
you did nat report as priarity claims

C) Check if this claim is for a community debt "
CY dents to pension or profit-sharing plans, and ather similar debts

 

 

 

 

 

Is the claim subject to offset? MW cther. Specify
wi Na
Li ves
First Svgs-BK Blaze Last 4 digits of accountnumber 5
Nonprionly Cregitor's Name
PO Box 5065 When was the debt incurred? 06/01/2016
Number Stree: . wo
Sioux Falls SD 57117 As of the date you file, the claim is: Check all that apply.
City State ZIP Code CY Contingent
Cy Uniiquidated

Who incurred the debt? Check one.

O) Debtor 1 only
WA Debtor 2 only Type of NONPRIORITY unsecured claim:
() debtor 1 and Debtor 2 onty

C} Disputed

 

oO CF Student loans
Atleast one of the debtors and another a Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims 7
LJ Debis ta pension or profit-sharing plans, and othey similar debts
's the claim subject to offset? BA Other. Specify Credit card
wi No
UO) ves

sevtomnace oe cuiista never ve psinacteneneere se he tres emn prgremnte eh vesmmseyesnn pzssesereeengnneavernahsbontnanee ntnomaniyy heres es tht enone te imaneenen hence en TAT

 

 

 

 

Kay Jewelers Last 4 digits of account number _1_ 7a 2 4A
Nowpriccity Creditors Name

When was the debt incurred?
PO Box 4485
Number Breet As of the date you file, the claim is: Check all that appi

, : a .

Beaverton OR 97076 ¥ ad
Tiy Slate ZIP Code OD) Contingent

LL] Untiquidated
Who incurred the debt? Check one. Q) Disputed

(d Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
C] Debtor 4 and Debtor 2 only

() Student loans
CD) Atleast one of the debtors and another

O Obligations arising out of a Separation agreement ar divorce that
you did not report as priority claims

C) cebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? MI other. specify Credit card

a) No

L} ves

 

( Check if this claim is for a community debt

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page at
Debt

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Sabrina Danielle

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Victory

 

First Name Middle Name Last Name

Case number wrancwn),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

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Official Form 106E/F

 

 

 

 

 

 

 

 

 

 

 

 

 

Medical revenue service Last 4 digits of account number 3 3 2 3 $ 242.60
Nanpriority Creditor’s Name
P.O. Box 1940 When was the debt incurred?
Number Sieet . ~
Melbourne EL 32902 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q) contingent
) unliquidated
Who incurred the debt? Check one. C1 pisputea
C} pebter + onty
(4 Deptor 2 only Type of NONPRIORITY unsecured claim:
7 Debtor 1 and Debtor 2 only ©) student loans
At least one of the debtors and another Q CGbligations arising out of a separation agreement or divorce that
L) Check if this claim is for a community debt you did not report as priority claims ,
1 cebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mother. Specity
oA no
QC] ves
MidState Skin Institute Deerwood Last 4 digits of account number 0 5 0 0 s__ 60.76,
Nonpnorily Creditors Name :
When was the debt incurred?
1630 Se 18th St Bidg 400 en °
Numbel Slreet
Ocala we FL 34471 As of the date you file, the claim is: Check all that apply.
Cily State ZIP Gode QJ contingent
. | Unliquidated
Who incurred the debt? Chack ane. disputed
O) Bebtor 1 only
Ud Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CY Student icans
Al least one of the debtors and another Qj Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims _
Q) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? A other. Specify
id No
C1 ves
/ 5_ 2,870.96.
Navy Federal Credit Union Last 4 digits of accountnumber :
Nanerionty Crecitar’s Name
When was the debt incurred?
P.O, Box 3100
Numb Streel
Merrifield me VA 22119 As of the date you file, the claim is: Check all that apply.
City Slate ZIP Code Contingent

Who incurred the debt? Check one.

LY Debtor 1 only

C) pebter 2 only

] Gebtor 1 and Debtor 2 only

A Atleast one of the debtors and another

LI Check if this claim is for a community debt

Is the claim subject ta offset?

a} No
C) ves

i] Unliquidated
C1 disputec

Type af NONPRIORITY unsecured claim:

L) Student loans

Oo Obligations arising out of a separation agreement or divorce that
you did not repert 48 priority claims

OJ debts ta pension or profit-sharing plans, and other similar debts
i Other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Sabrina Danielle Victory

 

Furst Mame Middle Name Last Name

Case number (f known),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

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Patient financial services

 

Nonpriority Creditors Name

10790 ranch Bernardo rd

 

 

Number Street
San Diego CA 92127
City State ZIP Code

Who incurred the debt? Check one.

C] Debtor 4 only

| Debtor 2 only

CD debicr 1 and Debtor 2 only

CJ At least one of the debtors and another

C] Check if this claim is for a community debt

Is the claim subject to offset?

| Ne
CO} ves

 

Progressive

 

Nonpriority Creditors Name

256 West Data Dr

 

 

Number Street
Draper UT 84020
Cily State ZIP Code

Who incurred the debt? Check one.

OJ Debtor 1 only

7) Debtor 2 only

O debtor 1 and Debtor 2 only

CJ Atleast ane of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

wi No
L) Yes

Progressive

 

Nonpridcity Creditors Name

256 West Data Dr

 

 

Number Street
Draper UT 84020
Cily State ZIP Code

Who incurred the debt? Check one

Ud Debtor 1 only

(LLY Gebtor 2 only

() Debtor 1 and Debtor 2 only

() Atleast ong of the debters and another

QC] Cheek if this claim is for a community debt

is the claim subject to offset?

wt No
L) ves

Official Form 106E/F

 

Last 4 digits of account number 7 9 8 7
When was the debt incurred?

As of the date you file, the claim is: Checs all that apply.

C} contingent
C) Unliquidated
LY Disputed

Type of NONPRIORITY unsecured ciaim.

(J Student loans

| Obligations arising out of a separation agreement of divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts
Other. Specity

Last 4 digits of account number —___

3_ 1,200.00
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q) Contingent
QC] Unliquidated
Q Disputed

 

Type of NONPRIORITY unsecured claim:

CQ Student ioans

J Obligations arising Gut of a separation agreement or divorce that
you did not report as priority claims
C1 cebts to pension or profit-sharing plans, and other similar debts

i Other. Specify

 

 

Last 4 digits ofaccountnumber

When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

Q Contingent
C) Upliquidated
C] bisputea

 

Type of NONPRIORITY unsecured claim:

Student ioans

Obligations arising Gut of a separation agreement or divorce that
you did not répart as priority claims

Debts to pensicn or profit-sharing plans, and other similar debts
Other, Specify

BO OO

Schedule E/F: Creditors Who Have Unsecured Claims page __ of __

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 41 of 88

Debter 1 Sabrina Danielle Victory

 

First Name Middle Name Last Name

Case number (tf kown

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

:

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

ba

Scripts Billing Correspondence
: Monpriority Creditors Name

10666 North Torrey Pines RD 4S-205

Number Street
La Jolla CA

City Stale

 

 

92037

ZIP Cada

 

Who incurred the debt? Check one.

LY Debtor 1 only

[4 Debtor 2 oniy

LY Gebtor 1 and Debtor 2 anly

C1 Atleast one of the debtors and another

CY Check if this claim is fora community debt

Is the claim subject to offset?

A No
L) ves

 

Scripps Clinic

Monpriority Creditors Name

3811 Valley Center Dr

Nurnber Street

SAn Diego CA

City State

 

 

92130

ZIP Code

 

Who incurred the debt? Check one

C4 Debtor 1 only

WI Debtor 2 only

Q) debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

LJ Check if this ciaim is for a community debt

fs the claim subject to offset?

A Na
OQ) ves

 

Scripps Hosiptal Chula Vista

Nonpriority Creditors Name

435 H St

Number Street

Chula Vista CA

City Stale

 

 

91910

2lP Code

 

Who incurred the debt? Check one

UJ debtor + only

i Debtor 2 only

(3 debtor 1 and Debtor 2 only

LI Atleast one of the debtors and another

C) Check if this claim is for a cammunity debt

Is the claim subject to offset?

i No
LI ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

Last 4 digits of account number

 

 

When was the debt incurred? :
As of the date you file, the claim is: Check all that apply. :
QO Contingent
Q) Unliquidated
L) pisputed
Type of NONPRIORITY unsecured claim:
QO Student loans
QO Obligations arising out of a separation agreement or divorce that

you did nat report as priarity claims
O) vebts to pension or profit-sharing plans, and other similar debts
nf Other. Specify.
Last 4 digits of account number 5 60.00;
When was the debt incurred? 11/30/2018
As of the date you file, the claim is: Check all that apply.
oO Contingent :
CY unliquidated :
O Disputed i
Type of NONPRIORITY unsecured claim: :
L) Student foans
C) Obligations arising out of a separation agreement os divorce that

you did not report as priarity claims. :
QO bebts to pension or profit-sharing plans, and other similar debts
| Other. Specify.

5 717.00.

Last 4 digits of account number __

When was the debt incurred? 01/28/2019

As of the date you file, the claim is: Check ali that apply.

oO Contingent
Q) unliquidated
Ll Disputed

Type af NONPRIORITY unsecured claim:

Q) student joans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

1 pebts to pension or profit-sharing plans, and other similar debts

4 other. Specify.

page of

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 42 of 88

Debtor 1 Sabrina Danielle Victory

 

First Narne Middic Name Last Name

Case Number (7 kaowa)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

’ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth,

a Sheridan Emergency Physicians

 

Nonpriority Creditor's Name

770 Wesi Sunrise Bivd Plantation

 

 

Number Street
Florida TX 33322
City State ZIP Code

Who incurred the debt? Check one.

O Debter 1 only

A Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

CU) Atleast one of the debtors and another

C) Check if this claim is far a community debt

ts the claim subject to offset?

af No
O) ves

ri

Sun caast

 

Last 4 digits ofaccountnumber = 5 120.00:
When was the debt incurred? 12/11/2018

As of the date you file, the claim is: Check all that apply.

Q Contingent
QO) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans :

Wy Obligations arising out of a separation agreement or divorce that :
you did not report as priority claims

LY Debts to pension or profit-sharing plans, and other similar debts

MM other Specity,

 

 

Nonpriority Greditor's Name

6801 E Hillsborough Ave

 

 

Number Street
Tampa FL 33610
City State ZIP Cage

Who incurred the debt? Check one.

L) Debtor 1 only

(J Debtor 2 only

Q) debtor 1 and Debtor 2 only

L) At least one of the debtors and another

CL) Check if this claim is for a community debt

Is the claim subject to offset?

| Na
LI ves

Syncb/Care Credit

 

Nonpriority Creditors Name

C/O P.O. Box 965036

 

 

Number Sueet
Ortando FL 32896
City State 2IP Code

Who incurred the debt? Check one.

+.) Debtor 1 only

C4 Debtor 2 only

( Debtor 1 and Debtor 2 only

L) At least one of the debtors and another

QJ Check if this claim is for a community debt

is the claim subject to offset?

iw No
QO) ves

Official Form 106E/F

54,105.97.

 

Last 4 digits of account number 2 8 1 7.
When was the debt incurred?
As of the date you file, the claim is: Check all that apply
CJ contingent :
Oo Unliquidated :
J] Disputed
Type of NONPRIORITY unsecured claim:
O Student loans
. Obligations arising out of a Separation agreement or divorce thal :
you did nat report as priority claims.

QO} cCehts to pension or profit-sharing plans, and other similar debts
id Other. Specify.

= 2,304.00:

Last 4 digits of account number

When was the debt incurred? 12/01/2013

As of the date you file, the claim is: Cheek all that apply.

UL) Contingent
oO Unliquidated
C] Disputed

Type of NONPRIGRITY unsecured claim:

Cl) Student loans i

a) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims.

CF Debts to pension or profit-sharing plans, and other similar debts

Wi other. Specity Charge Account

Schedule E/F: Creditors Who Have Unsecured Claims page of_

 

 
Debtor 1

Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 43 of 88

Sabrina Danielle

Victory

 

First Name Middle Name Last Mame

Case number (i known)

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Synchrony Bank

 

Official Form 106E/F

 

Nonpriority Crediter’s Name

140 Wekiva Springs Rd

 

Number Street

Longwood FL 32779

 

City State ZIP Code

Who incurred the debt? Check one.

\d Gebtor 1 only

Lt Debtor 2 only

() Debtor 1 and Debtor 2 only

LJ Atleast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject ta offset?

wi No
C) ves

Synchrony Bank

 

Nonpnionty Creditor’s Name

140 Wekiva Springs Rd

 

Number Street

Longwood FL 32779

 

City State ZIP Code

Who incurred the debt? Check one

U Debtor 1 only

(A Debtor 2 only

LJ oestor 4 and Debter 2 only

C} Atleast one of the debtors and another

QY Check if this claim is for a community debt

Is the claim subject to offset?

fl No
CO] ves

TFC Credit Corp

 

Nonpriorily Creditors Name

520 air park drive

 

Number Street

Tullahoma TN 37388

 

City State ZIP Code

Who incurred the debt? Check one.

i] Debtor 1 only

Q) pebter 2 only

| Debtor 1 and Debtor 2 only

CO) At least one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

wd No
GJ ves

Last 4 digits of account number

11/19/2017

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CJ Centingent
LJ Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CL) Student toans

| Obligations arising out of a Separation agreement or divorce that
you did not report as priority claims

LI debts to pension or profit-sharing plans, and ather similar dehts
Other, Specify

Last 4 digits of accountnumber ____

08/21/2018

When was the debt incurred?

As of the date you file, the claim is: Check al! that apply.

O Contingent
| Unliquidated
Q pisputed

Type of NONPRIORITY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans. and other similar debts

@O OO

Other. Specify

Last 4 digits of account number —

08/16/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

i] Contingent
C1 unliquidated
LI disputed

Type of NONPRIORITY unsecured claim:

Student loans

Obligations avyising out of a separation agreement or divorce thal
yau did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify.

Oo Of

Schedule E/F; Creditors Who Have Unsecured Claims

 

s__ 795.00:

 

3404.00.

 

 

5 5,421.00.

 

page__of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 44 of 88

Debtor 1 Sabrina Danielle Victory

 

First Name Middle Name Last Name

Case number wf sawn),

Your NONPRIQRITY Unsecured Claims — Continuation Page

 

: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and go forth.

4
[ UF Health

 

 

Nonprianty Creditors Name

P.O. Box 16051

 

 

Number Streat
Lewiston ME 04243
City State ZIP Code

Who incurred the dent? Check one.

CP Bebtor 1 only

“ Debtor 2 only

C1 Debtor 1 and Debtor 2 only

Oat least one of the debtors and another

QL) Check if this claim is for a community debt

Is the claim subject to offset?

 

 

 

 

 

z

§ 4,000.00

Last 4 digits of account number 2 7 a 2
When was the debt incurred?

As of the date you file, the claim is: Check al! that apply.

o Contingent
O unliquidated
Q Disputed

 

Type of NONPRIORITY unsecured claim:

 

O) Student loans

C] obligations arising out of a separalion agreement or divorce thal
you did nat repart as priarity claims

QO betts to pension or profit-sharing plans, and other similar debts

ha Other, Specify.

 

 

 

Last 4 digits of account number

BD No
O ves
US Bank Last 4 digits of accountmumber g 9,787.00
Nonpriarity Creditors Name
When was the debt incurred?
PO Box 108
Number Steet As of the date you file, the claim is: Check all that appl
: 5 of the date you file, claim is: cK a apply.
St Louis MO 63166 ¥ eon Eee
City State ZIP Code (] contingent :
; OO unliquidated :
Who incurred the debt? Check one DO pisputea
(A Debror + only i
DC) Debtar 2 only Type of NONPRIORITY unsecured claim: :
- Debter 1 and Debtor 2 only wh Student loans
Atleast one of the debtors and another oO Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not repoct 2s prority claims _
C] pets to pension or profit-sharing plans. and other similar debts
Is the claim subject to offset? Rl other. Specity
5A No
Cl Yes
ee < 14,692.00

US Dept of Educatio

 

Nonpriarity Creditors Name

 

 

PO Box 7860

Number Street

Madison WI 53704
City State ZIP Code

Who incurred the debt? Check one.

id Debtor 1 only

QC) Debtor 2 only

CY Detter 4 and Debtor 2 only

CI At least one of the debtors and another

L} Check if this claim is far a community debt

Is the claim subject to offset?

64 No
UO ¥es

Official Form 106E/F

When was the debt incurred? Og/24/2012

As of the date you file, the claim is: Check all that apply

oO Contingent
Q Unliquidated
Ol Disputed

Type of NONPRIORITY unsecured claim:

od Student loans

Q) obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U1 nebts to pension or profit-sharing plans, and other similar debts

O) otner. Specify

Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
Debtor 1

Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 45 of 88

Sabrina Danielie Victory

 

First Name Middle Name Last Name

Case NUMBEY (if snown),

 

Your NONPRIORITY Unsecured Ctaims — Continuation Page

 

” After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

4

Official Form 106E/F

Valley Emergency Physicians

Nonpriority Credilor's Name

1990 N Calfornia Blvd#400

Number Steet

Walnut Creek CA

City State

 

 

94596

ZIP Code

 

Who incurred the debt? Check one

(A Debtor 1 only

CI Debtor 2 only

(J Debtor 1 and Debtor 2 only

OO) Atleast one of the debtors and another

Q) Check if this claim is for 2 community debt

ls the claim Subject to offset?

wf No
ves

Valley Emergency Physicians
Nonprierity Creditars Nama

1990 N Calfornia Blyd#400

Number Street

Walnut Creek CA

Cry Slate

 

 

94596

ZIP Code

 

Who incurred the dept? Check one

L) pebter 1 only

id Debtor 2 only

O} bebtor 1 and Debtor 2 only

C1) atleast one of the deblors and another

L] Cheek if this claim is for a community debt

ls the claim subject to offset?

a No
Ci ves

Vanderbilt university medical center Dept
Nonpriarity Creditur's Name

1171 P.O. Box 121171

 

 

 

Number Street
Dallas TX 75312
City State ZIP Code

Who incurred the debt? Check one.

(Y Debter 1 only

a Debtor 2 only

C) Debtor 1 and Debtor 2 only

(2) atleast one of the debtors and another

CJ Check if this claim is for a community debt

fs the claim subject to offset?

J No
4 ves

Last 4 digits of account number

10/04/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

) Contingent
LJ Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

| Obligations arising aut of a separatian agreement or divorce that
you did not report as priority claims
O) debts to pension or profit-sharing plans, and other similar debts

wi Other. Specify

 

3 1,410.00.

 

 

 

10/03/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q) Unliquidated
QI cisputed

Type of NONPRIORITY unsecured claim:

QO Student loans

QO Obligations arising out of a separation agreement or diyarce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts
| Other. Specify

Sedma EEEEEEE! Te tBuRR ea

3 50.00 |

 

 

 

Last 4 digits of account number 7 2 3 4

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Oo Contingent
UL unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

(J Student ioans

QO) Obligations arising out of 2 separation agreement or divorce that
you did not report as priority claims

Cl nebts to pension or profit-sharing plans, and other similar debts
| Other. Specify.

Schedule E/F: Creditors Who Have Unsecured Claims

5 276.40.

 

 

page of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 46 of 88

Danielle

Middle ame

Sabrina Victory

First Nave

Debtor 1 Case number (t know)

Last Name

Your NONPRIORITY Unsecured Claims — Continuation Page

 

: After listing any entries on this page, nuriber them beginning with 4,4, followed by 4.5, and so forth.

Official Form 105E/F

Zebit

 

Nonpriority Creditors Narne

9530 Towne Center Drive Ste 200

 

Number Street

San Diego CA

92121

 

City State

Who incurred the debt? Check one

J Debtor 1 anly

(3 debtar 2 only

CJ Debtor 1 and Bebter 2 only

4) Atleast one of the debtors and another

Ll Check if this ctaim is for a community debt

Is the claim subject to offset?

wi No
CT ves

2lP Cade

 

Novipriority Creditors Nama

 

Number Street

 

City State

Who incurred the debt? Check one

LI dentor 4 only

Q) bDebter 2 only

(J Sevtor 1 and Debtor 2 omy

CI Atleast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

Q) No
(J ves

   

Z|P Cade

 

 

Nonpriority Creditors Name

 

Number Street

 

City Stale

Who incurred the debt? Check one.

i) Debtor 1 only

CD debtor 2 only

LD Debter 4 and Debtor 2 only

C) At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

1 ns
OC ves

ZIP Cade

Schedule E/F: Creditors Who Have Unsecured Claims

 

Last 4 digits of account number ___

5 1,047.65.

When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

QO Coatingent
OJ unliquidated
Ct Dispuied

Type of NONPRIORITY unsecured claim:

C) Student leans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C] Debts to pension or profit-sharing plans, and ather similar debts

| Other, Specify.

 

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply

OQ Centingent
CQ) unliquidated
| Disputed

Type of NONPRIORITY unsecured claim:

Student loans

Q Ghligations arising out of a separation agreement or divorce that
you did not report as priority claims
J vebts te Pension or profit-sharing plans, and other similar debts

OQ other. Specity

 

 

 

Last 4 digits of accountnumber

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
W) Unliquidated
QO Disputed

Type cf NONPRIORITY unsecured claim:

CJ Student loans

O Qoligations arising out of a separation agreement or divarce that
you did not report as priority claims

LY debts to pension or profit-sharing plans, and other similar debts
OQ) other Specify.

page of

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 47 of 88

Danielle

Lael Mame

Sabrina

First Mame

Debtor 1 Victory Case number (known),

 

Middle Name

| art 3: | List Others to Be Notified About a Debt That You Already Listed

 

. & Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persans to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Credence Resource Manage

 

Name

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the orlginal creditor?

Line 4.2 of (Check ane): LI Part 1: Creditors with Priority Unsecured Ctaims
WM Pan2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of accountnumber

Line 4.5 of (Check one}: UO Part 1: Creditors with Priority Unsecured Claims

CQ) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

Kecemment UL It cepbanteneee froatteenet treaty Sheparcmcncncns ty rtesmens: som a a ura

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

PO Box 2300
Auenter Street
Southgate Mt 48195
cH we _ Stale ZIP Cede
LYN¥ Funding LLC
Name
625 Pilot Road Suite 2/3
Number Street
Las Vegas NY 89119
City State alP Code
Credit cantrol LLC
Name
5757 phantom Dr, STE 330
Number Street
Hazelwood MO 63042
aa _ Swe. AP Sade
Name
Number Sireal
City State ZIP Code
Name
Number Street

Yo nennntt ad avesttannnennettit iment ZIP Code
Name
Number Street

oe garseie tetnremnenmentemeenenin Ey egennan lh S088,
Wame
Number Street
Cily Slate

ZIP Code

Schedule E/F: Creditors Whe Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.5 of (Check one}: CO) Part 1: Creditars with Priority Unsecured Claims

GH Part 2: Creditors with Nenpriority Unsecured
Claims

Last 4 digits of accountnumber_

   

Line af (Check one}: CG) Part 1: Creditors with Priority Unsecured Claims

U Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

Line of (Check one) O) Part 1: Creditors with Priority Unsecured Claims

) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

 

Line af (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

Q) Part 2: Creditors with Nonpricrity Unsecured
Claims

Last 4 digits ofaccount number

 

On which entry In Part 1 or Part 2 did you list the original creditor?

Line of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

C) Part 2: Creditors with Nonpriority Unsecured
Claims
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 48 of 88

Debior1 Sabrina Danielle Victory Case number ofincwn)

First Narne Middle Name Last Neme

 

 

List Others to Be Notified About a Debt That You Already Listed

 

. § Use this page only if you have others to be notified about your bankruptcy, fora debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a deht you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here, Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do nat have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

Midland Funding LLC, On which entry in Part 4 or Part 2 did you list the original creditor?

Name

2365 Northside Drive, Line 4.11 of (Check one): CY Part 1: Creditors with Priority Unsecured Claims
Number Streal W Part 2: Creditors with Nonpriority Unsecured Claims
San Diego CA 92408 Last4 digits ofaccountnumber

City : State _ aiP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check ene}: O) Part 1: Creditors with Priority Unsecured Claims
Number Streel C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street CF Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ____ _
City State _ AIP Code . . bese eeeute whens met vee base . a
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Pricrity Unsecured Claims
Number Steet Q) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits ofaccountnumber
Cily State ZIP Code —
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of {Check ane): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __
ol ance Stare AIP Code ace svtitay suite aneneiens ;
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of {Check one): OC) Part 1: Creditors with Priority Unsecured Claims
Number Street (] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
UY ee ae bo cesta ee Stee FIP Code eeu ee ich inatastinat oti .
NIRS On which entry in Part 1 or Part 2 did you list the original creditor?
Line of {Check one): O) Part 1: Creditors with Priority Unsecured Claims
Nurnber Street . . .
Li Part 2: Creditors with Nonpriority Unsecured
Claims
City ~ State ZIP Gode Last 4 digits of account number oe
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of_

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 49 of 88

Debtor? Sabrina Danielle Victory Case number (i nown)

Fist Name Middle Name Last Mame

 

 

| Part 3: | List Others to Be Notified About a Debt That You Already Listed

 

: §. Use this page only if you have others te be notified about your bankruptcy, for a debt that you aiready listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone alse, list the original creditor in Parts 1 or
2, then list the collection agency here, Similarly, if you have more than one creditor for ary of the debts that you jisted in Parts 1 ar 2, list the
additional creditors here. If you do not have additianal persons to he notified for any debts in Parts 1 of 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line af (Check one}: O Part 1: Creditors with Priority Unsecured Claims
Nurnber Streel L} Pant 2: Creditors with Nonpriority Unsecured Claims
Last4 digits of accountnumber
Cty : : State 21P Code os we toe : see tee soteteeseeecsee cgay teerenies cee ees ty tr gpecrenee
SCA Collections On which entry in Part 1 or Part 2 did you list the original creditor?
Name
300 East Aelington Blvd, Line 4.14 of (Check one): Ld Part 1: Creditors with Priority Unsecured Claims
Number Street M4 Pant 2: Creditors with Nonpriority Unsecured
Claims
Greenville NC 27834 Last4 digits ofaccount number __
City State ZIP Code —
On which entry in Part 4 or Part 2 did you list the original creditor?
Name
Line of (Check one! OQ) Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __
Cily oo . . Slate AIP Code esse etnanieteanansamen os
Name
Line of (Check one): CK) Part 1: Creditors with Priority Unsecured Claims
Nuriber Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits of accountnumber
Cily Slate ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UL Part 1: Creditors with Priority Unsecured Claims
Numiver Street © Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
annette vt se semen dian Stale. nen vt es sonnescunn se aace toma near tan v
On which entry in Part 4 or Part 2 did you list the original creditor?
Name
Line af (Check ane}: QC) Part 1: Creditors with Priority Unsecured Claims
Number Sueet Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber
oo a se NE seamen ETE ae
5 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one}: (] Part 1: Creditors with Priority Unsecured Ctaims
Number Street . . we
QI Part 2: Creditors with Nonpriority Unsecured
Claims
oy Sule FIP Code Last 4 digits of account number ___ _

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 50 of 88

Debtor 4 Sabrina Danielle Victory Case number (1 known}

First Name Middle Name Last Name

 

 

eee Others to Be Motifted Abaut a Debt That You Atready Listed

 

: §. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 4 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone eise, list the original creditor in Parts 1 or
2, then fist the collection agency here. Similarly, if you have more than one creditar for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons ta be notified far any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

Credit Bureau System On which entry in Part 7 or Part 2 did you list the original creditor?
Name
1947 Madison St Line 4.24 of (Check one}: 0 Part 1: Greditars with Priority Unsecured Claims
Number Slreet WI Part 2: Creditors with Nonpricrity Unsecured Claims
. Last 4 digits of account number
Clarksville TN 37040 9 " ———
BY ee rent te SNE FUP COC nes ce to ens ps th Conte wae titanate iy jon teen
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): QO) Part 1: Greditors with Priority Unsecured Ctaims
Number Street Ll Part 2: Creditors with Nonpriarity Unsecured
Claims
Last 4 digits ofaccountnumber
City State 2lP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): LO Part 1: Creditors with Priority Uns@cured Claims
Number Sweet Q) Part 2: Creditors with Nonpriority Unsecured
Claims
. Last 4 digits of account number __ Le
City Slate CIP
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one}: CI Part 1: Creditars with Priority Unsecured Claims
Number Street CJ Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits of account number___ ee
Cily State ZIP Code —
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line af (Check ane}: Cl Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number Le
cE CODE aes sane seneeot ai shnetbeeneaeseaneeat sesaensnunesngy enna .
On which entry in Part 1 or Part 2 did you list the original creditor?
Name ~~
Line of (Check one); DY Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber
oN aragnnnannng teemnon en se snienneeesns See PCOS enssicnnnansmnia tinea
5 On which entry in Part 1 or Part 2 did you list the original creditor?
ama
Line of (Check one): OD) Part 1: Creditors with Priority Unsecured Claims
Number Street
(} Part 2: Creditors with Nonpriosity Unsecured
Claims
City State ZiP Gade Last 4 digits of accountnumber

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of __

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 51 of 88

Debtor 1 Sabrina Danielle

Victory

 

First Name Middie Name

Lest Name

Case number (f known},

a List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a cottection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collectian agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 4 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

ARS Account Resoluti

 

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
1643 NW 136th AVe Line 4.25 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street W@W Part 2: Creditors with Nonpriority Unsecured Claims
. Last 4 digits of account number
Sunrise FL: 33323 4 -—-—
SHY an . a Slate | EP Code woe snoyenoencececgeceve ish ah as pean sg nnn aunt ues oie
Cammon Wealth Financi On which entry in Part 1 or Part 2 did you list the orlginal creditor?
Name
245 Main Street Line 4.26 of (Check one): A Pant 1: Creditors with Priority Unsecured Claims
Number Strest J Part 2: Creditors with Nonpriority Unsecured
Claims
Dickson City PA 18549 Last 4 digits of account number __ oe
City State ZIP Code
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Steel Part 2: Creditors with Nonpriarity Unsecured
Claims
Last4 digits of accountnumber
Eity _ State Zip Code beeen oe caning 1 seusenon te eqeaunisnatiguie gifts 0 aa aneuneareneunene a senreseesonesnunsene@ guniseiseis asain enc
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): ( Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nanpriority Unsecured
Claims
- Last 4 digits ofaccountnumber
Cily State ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): OO Part 1: Creditors with Priarity Unsecured Claims
Number Street L) Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits ofaccountnumber
eS ae a a State en AIP Ge eu sss yatntinstestvutepapmgaggy vor grpeannssis st tcqanpeunnnes ances ee
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Pant 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
Clty oe a State centile Code eee ;
a On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check ones: C) Part 4: Creditars with Priority Unsecured Claims
Number Street
Ci Part 2: Creditors with Nonpriority Unsecured
Claims
iy Sale Last 4 digits ofaccountnumber

Official Farm 106E/F

2iP Code

Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
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Danielle

Middle Mame

Sabrina

First Name

Debtor 7 Victory Case number (iF known}

 

 

Last Name

ee List Others to Be Notified About a Debt That You Already Listed

 

' §. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
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additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fili out or submit this page.

Portfolia Recovery A,

 

Name

120 Corporate Blvd Ste 100

 

Number

Street

 

Norfolk

VA

23502

 

Cily

State

Portfalio Recovery A,

ZIP Code

 

Name

120 Corporate Blvd Ste 100

 

Number

Street

 

Norfolk

VA

23502

 

Oty

State

ZIP Code

 

Name

 

Number

Street

 

 

City

Slate

ZIP Coae

 

Name

 

Number

Street

 

 

City

State

ZiP Code

 

Name

 

Number

Street

 

 

 

 

 

 

Number

Street

 

 

City ;

 

Name

 

Number

Street

 

 

Cily

Stale

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.38 of (Check one): C1 Part 1: Creditors with Priority Unsecured Ciaims
a Part 2: Creditors with Nonpricrity Unsecured Claims

Last 4 digits of accountnumber_

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.39 of (Check one); CG) Part 1: Creditors with Priority Unsecured Claims

bd Part 2: Creditors with Nenpriority Unsecured
Claims

Last 4 digits of account number ___

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims

QO) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ____

Line of {Check one): C) Part 1: Creditors with Priority Unsecured Claims

CJ Part 2: Crediters with Nonpriority Unsecured
Claims

Last d digits ofaccountnumber

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims

CJ Part 2: Creditors with Nanpriority Unsecured
Claims

Last 4 digits of account number ___

 

 

 

 

seune ZIP Code saan

ovenegnaees ea 622548 48

On which entry in Part 1 or Part 2 did you list the original creditor?

Line af (Check one): CO) Part 1: Creditors with Priority Unsecured Claims

C1 Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
CI Part 2: Creditors with Nonpriority Unsecured

Line

Claims

Last4 digits of accountnumber

page of__

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 53 of 88

Debtor 1 Sabrina Danielle Victory Case number imnown

First Name Middle Name Last Mame

 

 

oo List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
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2, then list the collection agency here. Similarly, if you have more than ane creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts t or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

Law Offices Of Mitchell On which entry in Part 4 or Part 2 did you list the original creditor?

Name

3400 Texoma Parkway Suite 100, Line 4.40 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

Number Street W Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digi f t

Sherman TX 75092 as igits ofaccountnumber

City State . zip Code enter near aueee vcreee te ty redegerereee foresees tet
On which entry In Part 1 or Part 2 did you jist the original craditor?

Name
Line of (Check ane): UO Part 1: Creditors with Priority Unsecured Claims

Number Street C] Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits afaccount number _

 

  

City

 

 

Net verve wneud Tove gear econo yy, tb 2 CPr Sm ere sane

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number “Street . C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_
eect ptye cee nee ee AN Code CARTE coe enenre aE ARORA Heneed suite tances vunce ne in taomenmmen ees pps atone tiianenaenescenn
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Sweet {2 Part 2: Creditors with Nonpricrity Unsecured
Claims
Last4 digits of accountrnumber
City Stale 2iP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Crecitars with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
a See Cd a cnet le summit daccnntsrtnegaaguumnpa tennessee tauneesesrupapemueyngyengearsnanmianusnanngtunatesem
Gn which entry in Part 1 or Part 2 did you list the original craditor?
Name
Line of (Check one): QQ) Part 1: Creditors with Priority Unsecured Claims
Number Street OQ) Part 2: Creditors with Nongriority Unsecured
Claims
Last 4 digits of account number ___ _
EY sapien egees ieee ee a nvecrmanis pe ee geome
5 On which entry in Part 1 or Part 2 did you list the original creditor?
aN
Line of (Check one): O Part 1; Creditors with Priority Unsecured Claims
Number Street .
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
city Sige 7p Code Last 4 digits of accountnumber

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of

 
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Debtor 4 Sabrina Danielle Victory Case number prancwn

First Name Middle Name Lasl Name

 

 

es List Others to Be Notified About a Debt That You Already Listed

 

. §. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
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additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Portiolio Recovery A On which entry in Part 1 or Part 2 did you list the original creditor?
Narne
120 Corporate Blvd Ste 100 Line 4.43 of (Check one): O Part 4: Creditors with Priority Unsecured Claims
Number Street J Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digit a umber
Norfolk VA 23502 igits of account number __ ____
City . _, State i
Portfolio Recovery A On which entry in Part 1 or Part 2 did you list the original creditor?
Name
120 Corparate Blvd Ste 100 Line 4.44 of (Check one): UL) Part 4: Creditors with Priority Unsecured Claims
Number Sweet Mi Part 2: Creditors with Nonpriority Unsecured
Claims
Norfolk VA 23502 Last 4 digits of account number__ _
Tity 2)P Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of {Check one), UO Part 1: Creditors with Priority Unsecured Claims
Number Street Cl Pan 2: Creditors with Nonpriarity Unsecured
Claims
Last 4 digits of accountnumber_
City . re State ZIP Code _ bi pete cayutaiiey neo Gee eugene gestae ca ov aneetaigltiee eee vanes sense ciney Fy ene
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): LO Part 1: Creditors with Priority Unsecured Claims
Numibe: Steel QC) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber
City State ZIP Code
Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Steel QO) Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last4 digits ofaccountnumber
oY eee ee ce ee AE Ce a. doves teehee tannins ee sett
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check ene}: Part 1: Creditors with Priority Unsecured Claims
Number Street O) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
i we ete UP CON se anne ne bor tniccane tating iuaunnannnrenitiiasriegunnnaaiinisc nessun iatiearnaeeaenaneriain
ame On which entry in Part 1 of Part 2 did you list the original creditor?
Line of (Check one}: UI Part 1: Creditors with Priority Unsecured Claims
Number Street , .
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
ty Sine FP Code Last 4 digits ofaccountnumber

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 55 of 88

Debtor 1 Sabrina Danielle Victory Case number (known)

First Name Middle Name Last Name

 

 

| Part a: List Others to Be Notified About a Debt That You Already Listed

 

‘ g. Use this page only if you have others to be notified about your bankruptey, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
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additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 ar 2, do not fill cut or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CMRE Financial Services On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3075 E Imperial Hwy Ste 200 Line 4.49 of (Check one): UO Part 1: Creditors with Priority Unsecured Claims
Number Street WM Past 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number
Brea CA 92821 a —-—
City ae i EPO ee gre vn anaes cena annie sn dens enn ita nacre cn
CMRE Financial Services On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3075 E imperial Hwy Ste 200 Line 4.50 of (Check one): L Part 1: Creditors with Priority Unsecured Claims
Number Street M4 Part 2: Creditors with Nonpriority Unsecured
Claims
Brea CA 92821 Last 4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the atiginal creditor?
Name
Line af (Check ona): CI Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_
City State aiP Code ns ; vs -
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one}: (1 Part 1: Creditors with Priority Unsecured Claims
Nucnter Street ) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_ ss 5s
City Slate ZIP Cade
On which entry in Part 1 or Part 2 did you list the ariginal creditor?
Name
Line of (Check ane}: CO Part 1: Creditors with Prierity Unsecured Claims
Number Sireet C} Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __
ed tt tumnm anit sameness state FEO sc ccscues immature tS Aanarenaees outro inressianeimsn tana ste ment
On which entry in Part ¢ or Part 2 did you list the original creditor?
Name
Line of (Chack one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QJ Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits ofaccountnumber
TY ateat ennai ~ SRE cen A OS ee etn ammentettetnnanseee sesso po snes nep enamel
ta On which entry in Part 1 or Part 2 did you list the original creditor?
me
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street , . -
CJ) Part 2: Creditors with Nonpriotity Unsecured
Claims
City Slate SIP Code Last4 digits ofaccountnumber

Official Farm 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page_ af

 

 
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Debtor 1 Sabrina Danielle Victory Case number (if anown)

Firet Name Middle Name Last Name

fe ~ the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

Total claim
6a. Domestic support obligations 6a.
_ Tota! claims pp g $
fi P
rom Part? 6b. Taxes and certain other debts you owe the
government Sb. &
6c. Claims for death or personal injury while you ware
intoxicated 6c. rs
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +4 3
Ge. Total. Add lines 6a through 6c. Be.
&
Total claim
Total claims °! Studentioans BF 5 65,331.96
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g. Ly
Gh. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
6i. Other. Add al! other nonpriority unsecured claims.
Write that amount here. Bi. ot gs 57,404.19
6j. Total. Add lines Sf through 6i. 6j.
§ 122,736.15

 

 

 

Official Form 106E/F Schedule E/F: Greditors Who Have Unsecured Claims page of

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 57 of 88

Fill in this information to identify your case:

Debtor Sabrina Danielle Victory

First Narme Midcdte Name Last Name

Debtor 2 Brianna Elizabeth Victory

 

 

(Spouse U! filing) First name Middle Name Last Name
United States Bankruptcy Court for the: Middle District of Florida
Case number

dif known! C] Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate a8 possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space ig needed, copy the additional page, fill It out, number the entries, and attach it to this page. On the tap of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Qd No. Check this box and file this form with the court with your cther schedules. You have nothing else to report an this form.
L) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AB. Property (Official Form 106A/B).

2. List separately each person or company with wham you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for mare examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZIP Code

 

2.2

 

Name

 

Nurnber Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

Gh, ; ; State ZIP Code
2.4

 

Name

 

Number Street

 

City . ce State __ ZIP Code
2B

 

Name

 

Number Street

 

City State ZIP Geode

Official Form 108G Schedule G: Executory Contracts and Unexpired Leases page lof

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 58 of 88

Debtor 1 Sabrina Danielle Victory Case number ct kiowa)

First Name Middle Name Last Mame

 

 

| | Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

 

City Stale ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

     

 

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

Gity State ZIP Code

 

Name

 

Number Stréet

 

City State ZIP Code

 

Name

 

Number Street

 

ay vow State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page_ sof __
Case 3:19-bk-03800-JAF Doc1_ Filed 10/04/19

RUM mcm Cail Na eee mec toto

Danielle

Middle Name

Elizabeth

Middle Name

Sabrina

First Name

Debtor 2 Brianna
(Spouse. if filing) First Name

Dedter 1

Victory

Last Name

Victory

Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number

 

{iF Rwy}

 

 

Official Form 106H

Schedule H: Your Codebtors

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

OU) No
vi Yos

Page 59 of 88

2) Check if this is an
amended filing

12/15

2. Within the last § years, have you lived in a community property state or territory? (Community property states and ferritories include
: Arizona, Caiifornia, idaho, Louisiana, Nevada, New Mexico, Puerta Rico, Texas, Washington, and Wisconsin.)

(1 Ne. Go to line 3.

rm Yes. Did your spouse, former spouse. or legal equivalent live with you at the time?

M no

Cl] Yes. In which community state of territory did you live?California

 

Name of your Spouse. former spouse, or legal equivalent

910 E 18th St

 

 

Number Street
National City CA 97950
ity State ZIP Code

. Fill in the name and current address of that person.

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,

Schedule E/F, or Schedule G to fill out Column 2.

Column 7: Your codebtor

Brianna Indorato

Name

 

Number Street

 

City State

Brianna Indorato

Name

_ aiP Code |

 

Number Street

 

City State

ZIP Code

 

Mame

 

Number Sueet

 

City . State

Official Form 106H

diP Code

Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt :

Check all schedules that apply:

a

Mf Schedule D, tine 2.3
Schedule E/F, ine
C1 Schedute G, line

C) Schedule D, line
ad Schedule E/F, line 4.33
C) Schedule G, line

(} Schedule D, line
QC} Schedule E/F, fine
CL) Schedule G, line

   

page lof

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 60 of 88

 

 

 

Debtor 4 Sabrina Danielle Victory Case number ct kacwa)
First Name Middle Name Last Narne
| ES Page to List More Codebtors
: Column 1: Your codebter Columa 2: The creditorto whom you owe tha debt: |

Check all schedules that apply:

 

QO) Schedule D, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name :
L} Schedule E/F, line :
Number Street O Schedule G, line
Cily State . Z/P Cade
OQ) Schedule D, line
Name
) Schedule E/F, fine
Number Syreet L) Schedule G, line
tity State . SP Oe ne cece cate bctenctgpcreate vant atyurasaanieses anno .
we sos
OQ Schedule D, line i
Name _
C1 Schedule EF, line
Number Street LJ Schedule G, line
: City State éiP Code :
L) Schedule D, line :
Name ___ :
QC) Schedule E/F, line
Number Street 1 Schedule G, line
City State ; ZIP Code
Q) Schedule D, line :
Name i
I Schedule E/F, line i
Number Street QO) Schedule GS, line
City State ZIP Code ‘
QO) Schedule D, line
Name _
QC) Schedule E/F, line
Number Street OQ) Schedule G, line
. City State . _ Zip Code a ben an coe occa
| 1) Schedule D, line
Name ——
() Schedule E/F, line
Number Straet (] Schedule G, line
: Tity State aed
C4 Schedule D, line :
Name ——— :
CJ Schedule E/F, line ‘
Number Slreet Q Schedule G, ijine ;

Ses naan eg EEE SEEDS Manan ang TEETH here Wg cad ENE ED ero MAP do gd HEME AA abot a hai HERA 9

Official Form 108H Schedule H: Your Codehbtors page of

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 61 of 88

Fiil in this information to identify your case:

Debtor 4 Sabrina Danielle Victory

First Name Middle Name Last Name

Debtor 2 Brianna Elizabeth Victory

{Spouse, if filing) First Name Middle Name Last Name
United States Bankruptey Court for the: Middle District of Florida

Case number Check if this is:
Uf known}
C1 An amended filing

CI A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106! uN Too

Schedule I: Your Income 42115
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information, f you are married and not filing jointly, and your spouse is living with you, include information about your spouse,

If you are separated and your spouse fs not filing with you, do not include information about your Spouse. If more space is needed, attach a
separate sheet to this form, On the top of any additional pages, write your name and case number {if known). Answer every question.

RTE ves ribe Employment

+. Fillin your employment ,
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

If you have more than one job,

 

attach a separate page with
information about additional Employment status w Employed QO) Empicyed
employers. OC) Not employed wi Not employed
Include part-time. Seasonal. or
seif-employed work.

. . Occupation RSR
Occupatian may inctude student
or homemaker, if it applies.

Employer’s name Frito-Lay

 

Employer's address

 

 

 

 

Number Street Number Street
City State ZIP Code City State ZIP Code
How long employed there?) 6 manths 6 months

 

EEE «-- Details About Monthly Income

Estimate monthly incame as of the date you file this form. If you have nathing to report for any line, write $0 in the space. Include your nan-filing
spouse unless you are separated.

you or your non-filing spouse have more than ane employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, Salary, and commissions (before all payroll

 

deductions). !f not paid manthly, calculate what the monthly wage would be. 2. 5 2,333.33 5
3. Estimate and jist monthly overtime pay. 3. +8 + §$
4. Calculate gross income. Add line 2 + line 3. 4. 5 2,333.33 5

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 62 of 88

 

 

 

Debtor 7 Sabrina Danielle Victory Case number tif knewn)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or.
- non-filing spouse
Copy lime 4 Rete. ice cece ee cc cesees ee teeceeeeeeeeseeeeeeseeseeamteenteteneeeise creases 94 §_ 2,333.33 5

5, List all payroll deductions:

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions Sa. $ $
Sb. Mandatory contributions for retirement plans 5b. $ $
5c. Voluntary contributions for retirement plans So. $
Sd. Required repayments of ratirement fund loans Sd, § §
Se. Insurance Se. § $
5t. Domestic support obligations St. $ 3
5g. Union dues 5g. $ $
5h. Other deductions. Specify: 5h. +$ +5
6. Add the payroll deductions. Add lines 5a + 5b +5c+ 5d+5e+Si+5g+5h. 6 § 0.00 5
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 §__ 2,333.33 $
3. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Aitach a statement for each property and business showing grass

recéipts, ordinary and necessary business experises, and the total $ 3

monthly net income. 8a.
8b. interest and dividends 8b. §$ $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

include alimony, spousal support, child support, maintenance, divorce § $

settlement, and property settlement. Bs.
8d. Unemployment compensation 8d.

&e. Social Security de. 5 5
&f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as toad stamps (benefits under the Supplemental

Nutrition Assistance Program} or housing subsidies.

Specify: as S$ $
8g. Pension or retirement income 8g. § $
&h. Gther monthly income. Specify: 8h. +5 +3

9, Add all other income. Add lines 8a + 8b + 8c + Bd + Be + BF+8g + Sh. 9. 5 3
10. Calculate monthly income. Add line 7 + line 9 5 2,333.33] 4 5 =\s 2,333.33
Add the entries in line 10 for Debtor 1 and Debtor 2 or nan-filing spouse. 16.

 

 

 

 

 

 

 

4

=

. State all other regular contributions to the expenses that yau list in Schedule J,

Include contributions from an unmarried partner, members of your househald, your dependents, your roommates, and other
friends or relatives.

Do not inélude any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Sehedute J.

 

 

 

 

Specify: V1. §
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined manthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. $.
Combined

monthly income
13.Do you expect an increase or decrease within the year after you file this form?

wd No.

 

Ld) yes. Explain:

 

 

 

Official Form 106% Schedule I: Your Income page 2
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 63 of 88

Fil in this information to identify your case:

Sabrina Danielle Victo gues
Debior 4 First Name Middle Name Last yr Check if this is:

 

Debtor 2 Brianna Elizabeth Victory

I An amended filing

, . ; L) A supplement showing postpetitian chapter 13
United States Bankruptcy Court for the: Middle District of Florida expenses as of the following date:

(Spouse, if filing) First Name Middle Name Last Name

fase number MM / DOs YYY¥

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information, \f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

part: | Describe Your Household

 

 

 

1. [s this a joint case?

No. Go to line 2,
MI yes. Dees Debtor 2 live ina s@parate household?

J No

C1 ves. Debtor 2 must file Official Form 106-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

2, Do you have dependents? of Mo :
Dependents relationship to Bependent’s Does dependent live
Do not list Debtor 7 and CJ Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... O
N
Do not state the dependents’ oO °
names Yas
OC) No
CL) Yes
LC) No
QO) yes
Li No
CL) Yes
C) No
O ves
3 Do your expenses include wt No

expenses of people other than
yourself and your dependents? LJ Yes

CREE estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a Supplement in a Ghapter 13 case to report
expenses as of a date after the hankruptcy fs filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable data.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule : Your Income (Official Form 1061.) Your expenses

 

4, The rental or home ownership expenses for your residence. Include first mortgage payments and 700.00
any rent for the ground or lot. 4, -

If not included in line 4:

4a, Real estate laxes 4a, 3
4b, Praperly, hameowner's, or renter’s insurance 4b. a 15.00
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner's assaciation or condominium dues 4d. 5

Official Form 106J Schedule J: Your Expenses page 1
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 64 of 88

 

 

 

 

 

 

Case number (it krown)

Debtor 1 sabrina Danielle Victary
Firs] Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, ceil phone, loternet, satellite, and cable services
6d. Other, Specify:
7. Food and housekeeping supplies
8. Childcare and children's education costs
9, Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12, Transportation. Include gas, maintenance, bus cr train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
16. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a, Life insurance
15b, Health insurance
15c. Vehicle insurance
15d Other insurance. Specify:
16. Taxes. Go not include taxes deducted fram your pay or included in lines 4 or 20.
Specify:
17. Installment or lease payments:
17a, Car payments for Vehicle 1
i7b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify.
16. Your payments of alimony, maintenance, and support that you did not report as deducted fram
your pay on line §, Schedule /, Your Income (Official Farm 106).
19. Other payments you make to support others who do not live with you.

Specify:

 

Other real property oxpenses not included in jines 4 or 5 of this form or on Schedule tf: Your income.

20a. Mortgages on other property

20b. Real esiate taxes

20c. Praperty, homeowner's, or renters insurance
20d. Maintenance, repair, and upkéep expenses

20e. Homeowner's assaciation or condominium dues

Official Form 106J Schedule J: Your Expenses

 

6a.
6b.
6c.

6d.

10.

11.

12.

13.

14.

15a.

15b_

the.

16d.

1fa.

17 b.

t?e.

Vid.

18.

19.

20a,

20b.

20c.

20d.

20e,

 

Your expenses ©
$
$ 75.00
$ 75.00
§ 250.00
$
5 400.00
$
5 140.00
3
$
5.
$
$
§ 13.00
$
% 250.00
$
g
5 560.00
3 420.00
5
$
$
3
$
3
$
5
3
page 2

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 65 of 88

 

 

 

Debtor 1 Sabrina Danielle Victor ¥ Case number (it known)
Fost Name hiddle Warne Last Nate
21. Other. Specify: 21. +3

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. |g 2,898.00

‘ '
22b. Capy line 22 (monthly expenses for Debtor 2), if any, fram Official Form 106J-2 22p. ° g :
22c. Add line 22a and 22b. The result is your manthly expenses. 220, | 5 2,898.00

23. Calculate your monthly net income.

, $ 2,333.33
23a. Copy line 12 (your combined monthly income) fram Schedule f. 23a. ——_— Oa

23b. Copy your monthly expenses from line 22c above 236g 2,898.00

 

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net incame. 23c,

$ 564.67

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification te the terms of your morgage?

ad Na,

QC) Yes. Explain here:

Official Form 106J Schedule J: Your Expenses page 3

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 66 of 88

Fill In this Information to identify your case:

 

 

 

Debtor 1 Sabrina Danielle Victory
First Narre: Middle Name Last Name

Debtar 2 Brianna Elizabeth Victory

(Spouse, if filing) Fist Meme Maddie Name Last Mame

United States Bankruptcy Court fer the: Middle District of Florida

Case number
(lf known)

 

L} Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 4218

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedulas. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result In fines up to $250,000, or imprisonment for up ta 20
years, or both. 18 U.S.C, §§ 152, 1341, 1519, and 3571.

S| Sign Below

Did you pay or agree ta pay sameone who is NOT an attorney to help you fill cut bankruptcy forms?

L) No
wf Yes. Name of person. Rick Weaver( Court Source, Inc,.) . Attach Bankrupicy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 114).

Under penaity of perjury, i declare that! have read the summary and schedules filed with this declaration and
that they are true and correct.

x QO 24 a BR Moy

 

 

Signature of Debtor 4 Signature of Debtor 2
pate {2 / ef 2oatF Date {od loateoi4
MM; OD OF YY¥Y MM? DD f ¥YYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 67 of 88

tM MUU Mae ae cel m els

Debtor 4 Sabrina Danielle Victory

First Name Middle Name Last Name

Debtor 2 Brianna Elizabeth Victory

(Spouse, if filing) First tame Middle Name Last Name
United States Bankruptcy Court forthe: Middle District of Florida

C b
teow) O) Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known}. Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1, What is your current marital status?

¥ Married
( Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

LJ No

wf Yes. List all of the places you lived in the last 3 years. Do nat include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debter1 Debtor 2: Dates Debtor 2
lived there lived there
wy Same as Debtor 1 wf Same as Debtor 1
1015 NE 6th Ave From 09/01/2019 Fram
Number Street Number Street
To To
Crystal River FL 34428 r
City State ZIP Code City State ZIP Code
i Same as Debtor 1 af Same as Pebtor 7
14905 SW 47th Ct Erem 09/01/2018 From
Number Street Number Street
To 02/28/2019 To
Ocala FL 34473
City State ZIP Code City State ZIP Cade

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

J No

LI Yes. Make sure you fill out Schedule A Your Cedebtars (Official Form 106H}

RES &xriain the Sources of Your Income

Official Farm 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 

 
Case 3:19-bk-03800-JAF Doci1 Filed 10/04/19 Page 68 of 88

Debtor? Sabrina Danielle Victory

Case NUMbEr (if kaw}
First Name Middle Nara Last Name

 

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fillin the total amount ef income you received frarn all jobs and all businesses, including part-time activities.
If you are filing a joint case and you nave income that you rec@ive together, list it only once under Debtor 1.

OC No
wi Yes. Fill in the details.

 

Sources of income Gross income Sources of income Gross inconie. ‘
Check all thal apply. (before deductions and = Check all that apply. {before deductions and
exclusions) exclusions)
. | VWages, cammissions, wi Wages, cammissians,
From January 1 of current year until bonuses. tips g 28,000.00 bonuses. tips $ 32,000.00
the date you filed for bankruptcy: TO __,-o
Q Operating a business qi Operating a business
For last calendar year: ad Wages, commissions, LI) wages. commissions,
ca ry bonuses, tips $ 1 000.00 bonuses, tips $
(January 7 to December 31 vel 16 | Operating a business QO Operating a business
For the calendar year before that: 4 voneee te wo bones tr 32,000.00
5 32,000.00 5 0
{January 119 December 31,2017 (DD Operating business $=" _ [J Gperating a business oo

vryy

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardiess of whether that income is taxable. Examples of offer income are alimany; child support; Seciat Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and iottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income fram each source separately, Do not include income that you listed in line 4.

Gt No

CL] Yes. Fill in the details.

 

 

 

 

 

 

Sources of Income Gross income from Sources of income Gross income from
Oeserbe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)
From January 1 of current year until, —W—-—_ S$: M5
the date you filed for bankruptcy:
$ §
For last calendar year: 5 $
(January 1 to December 31,2018 ) ..+SsesetsC*SK 5
YYV¥
$ $
For the calendar year before that: 8 5
{January 1 to December 34,2017 3 5 5
YYYY TTT
$

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
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Debtor 1 Sabrina Danielle Victory Case number (i town)

First Name Middle Name Last Name

 

eee Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?
C) No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individua! primarily for a personal, family, or househald purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total af $6,825* or more?

LJ No. Go to line 7,

LY ves. List below each creditor to whom you paid a total of $6,825* ar more in one or more payments and the
total amount you paid that creditor. Da not include payments far damestic support obligations, such as
child support and alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a tota? of B00 or more?

LY No. Go to line 7.
wi Yas. List below each creditor io whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic Support obligatians, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case,

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe Was this payment far...
payment
Subaru Finance O5/12/2019 1,680.00 ¢ CO) morgage
Creditors Name
Ff Car
04/12/2019
Number Street O Credit card
03/12/2019 CJ Loan repayment
CI suppliers or vendors
PP
Siny State FP Code Cd othar
Hyundai Motor Financ 05/15/2019 1,260.00 5 11,636.00 CO) morgage
Creditors Name
off Car
10550 Talbert 04/15/2019
Number Streat CY credit card
03/15/2019 Q Loan repayment
QO Suppliers or vendors
Fountain Vallgy CA 92628
City State ZIP Cade CO) Other
§ $ C] Mortgage
Creditors Name
CD car

QO Credit card

 

Number = Street
L) Loan repayment

Q Suppliers of venders

 

City State AP Code QO Other

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 

 
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Debtor? oabrina Danielle Victory

Case number pfancwn)
First Mame Middle Nave Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
iasiders include your relatives; any generai partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an Officer, director, person in contral. or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child susport and alimony.

VI No

CL) Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
3 $
Insiger's Name
Number Street
City State ZIP Coda
$ $

 

Insider's Name

 

Number Street

 

 

City Slate ZIP Code

8. Within t year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts quaranteed or cosigned by an insider.

YW No

LI Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe

 

$ $
Insiders Name

 

Number Street

 

 

Cily Stale ZIP Cade

 

Insider's Name

 

Nurnber Street

 

 

City State ZIP Code

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 
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Debior 1 Sabrina Danielle Victory

Case number (if sncavny,
First Name Middle Name Last Name

 

 

i Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases, small claims actions, divorces, callectian suits, paternity actions, suppert or custody modifications,
and contract disputes.

No

C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency oo ‘Status of the case
Case tille Goun Name OC Pending
CO on appeal
~ Numbar Street C) Concluded
Case number
City State ZIP Code
Case title Goud Name Cd Pending
QJ) on appeal
Number Street OQ) concluded
Case number
City Slate ZIP Code

_ 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that appiy and fill in the details below.

a No. Go to line 11.
C) Yes. Fill in the information below.

Bescribe the property Date Value of the property

 

Creditors Name

 

Number Street Explain what happened

C) Property was repossessed.

 

| Property was foreclosed.
Q) Property was garnished.

 

City State ZIP Code ) Property was attached, seized, or levied.

 

Describe the property , Date Value of the property

 

Cregitor's Name

 

Number Street
Explain what happened

 

Property was repossessed.
Property was foreclosed.

 

Property was garnished.
Property was attached, seized, ar levied.

City State ZIP Code

Oovuo

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
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Debtor 1 Sabrina Danielle Victory Case number urfenowr)

Firsl Name Middle Name Last Name

 

 

11, Within 90 days before you fited for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts oF refuse to make a payment because you owed a debt?

YW No

OC] Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditar’s Nama
$
Number Streel
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

wi No
O ves

Ee List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

W@W No

LJ Yes. Fill in the details for each gift.

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to YWnom Yau Gave the Gift
$
Number = Street
Cily Stale 7IP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave "Value
per person i cee ta _ the gifts
3
Person to Wham You Gave the Git
5

 

 

Number Street

 

City State 2 P Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

 
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Debtor 1 Sabrina Danielle Victory Case number (7 knows}

First Name Middle Name Last Name

 

14.Within 2 years before you filed for bankruptcy, did you give any glfts or contributions with a total value of more than $600 to any charity?

BA No

QO) Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity's Name

 

 

Number = Street

 

Cily State 2lP Code

ao List Certain Losses

 

. 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

C) Yes. Fill in the details

Oescribe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred ; : — loss iost
include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

i: Certain Payments or Transfers

: 16. Within 1 year before you filed far bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
: you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wi No

UL) Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Wha Was Paid _ made
Number Street : $
$

 

 

Sity State ZIP Code

Emait or website address

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 

 
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Debtor { Sabrina Danielle Victory Case number td wnewn

First Name Middle Name Last Name

 

 

Cescription and vatue of any property transferred , Date payment or Amountsf
transfer was Made = paytrient

Person Who Vas Paid

 

Number Street

A

 

City State ZIP Code

Email or website address _

Person Who Made the Payment. :f Not You

: 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do nat include any payment or transfer that you listed on line 16.

Wf No

C) Yes. Fillin the details.

 

 

 

City State ZiP Cade

Description and value of any property transferred Bate payment or Amount of payment }
transfer was :
made :

Person Wha Was Paid : :
3 :

Number Street i
i

$ i

i

i

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, othar than property
transferred in the ordinary course of your business or financial affairs?
include both outright iransfers and transfers made as security (such as the granting of a security interest or morigage on your property).
Da not include gifts and transfers that you have already listed on this statement.

@ No

C) Yes. Fill in the details.

Bescription and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

Number = Street

City State 2ZiP Cade

Person's relationship to you

 

Parson Whe Received Transfer

Number Street

 

City Slate ZIP Gade

Person's relatianship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptey page 8

 
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Debtor 1 Sabrina Danielle Victory Case number (it anowny

First Name Middle Name Last Name

 

+9. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

WA No

C) Yes. Fill in the details

Description and value of the property transferred . Date transfer
“was made

Name of trust

 

: 20. Within 4 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sald, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

M No

. (2 Yes. Fill in the details.

 

: Last 4 digits of account number Type of account or Date account was Last balance before
j instrument , closed, sold, moved, — Closing or transfer
: , or transferred : a
Name of Financial Institution .
XAXK— QO Checking §
Q Savings

 

Number Street
Cl) Money market

 

| Brokerage

 

 

 

i c
City State ZiP Code 1) Other
XXXK~ Cd checking 5
Name of Financial Institutian
QO Savings
Number Street C) Money market

Q) Brokerage
CO] other

 

 

City State ZIP Code

: 21. Do you now have, ar did you have within 7 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
Wd no
Ci Yes. Fill in the details.
Who else had access to it? Describe the contents Do you still

 

 

 

 

 

 

_, have it?
QO) No
Name of Financial Institution Name QC) Yes
Humber Street Number Street
}
: City State ZIP Code

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
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Debtor 1 Sabrina Danielle Victory Case number uranowr

First Name Middle Name Las] Name

: 22. Have you Stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy? Hl
: No
Cl Yes. Fill in the details.

 

 

: Who else has or had access to it? Describe the contents Do you still
neh cent es  tnceanantencie have it?

' LI No

i Name of Storage Facility Name : QO Yas

i

: Number Street Number Street

 

City State ZIP Code

 

City State ZIP Code

} Parts: | Identify Property You Hold or Control for Someone Else

23. Do you hold or contra! any property that someone else owns? Include any property you borrowed from, are storing far,
ar hold in trust for someone,
No
CI Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner's Name : §$

 

Number Street

 

Number Street

 

 

 

——— 3s City State ZIP Code
City State ZIP Code

Ex Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

ae Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, sail, surface water, groundwater, or other medium,
including statutes or regulations controlling the claanup of these substances, wastes, or material.

 

« Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

# Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contamlnant, or similar term.

Report ali notices, releases, and proceedings that you know about, regardiess of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

¥1 No

0 Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Gavernmentat unit
Number Street Number Street

city State ZIP Code

 

 

City State ZIP Code

Official Form 107 Staternent of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
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Danielle

Middle Name

Sabrina

First Name

Debtor 1 Victory

 

Last Name

25.Have you notified any governmental unit of any release of hazardous material?

i No
CJ ves. Fill in the details.

Governmental unit

 

 

 

 

Name of site Governmental unit

: Number Street Number Street

; City State ZIP Code
city State ZIP Code

Case number (if known)

Environmental law, if you know it

Page 77 of 88

Date of notice

- 26.Have you been a party in any judicial or administrative proceeding under any environmental Jaw? Include settlements and orders.

No

CD Yes. Fill in the details.

Court of agency

 

 

Case title
Court Name
Number Street
Case number City State ZIP Code

a Give Details About Your Business or Connections to Any Business

Nature of the case

Status of the
case

Q Pending
QO on appeal
C concluded

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

C) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Ha partner in a partnership
Q) An officer, director, or managing executive of a corporation

CL) An owner of at least 5% of the voting or equity securities of a corporation
wi No. None of the above applies. Go to Part 12.

OC) Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business

 

Business Name

' BIN: -

 

 

: From

 

 

 

 

 

Number Street
Name of accountant or bookkeeper
City State ZIP Coue
: Describe the nature of the business
: Business Name
: Number Street
: Name of accountant or bookkeeper
: City State ZIP Gade

Official Form 107

Dates business existed

_, Bo not include Sociat Security. number or!TIN.

EIN: -

_ From

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Employer identification number
Do not include Social Security number or (TIN.

Te

Employer Identification number

Dates business existed

 

To

page 11

 
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Destar1 -wabrina Danielle Victory Case number crmonn}

First Name Middle Name Last Name

 

 

Employer Identification number
Deo not include Social Security number or TIN.

Describe the nature of the business

 

Business Name

 

 

EIN: -o
Number Street Name of accountant or bookkeeper Dates business existed
: From To

 

City State ZIP Code

 

 

| 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

i] No
1] Yes. Fill in the details below.

Date issued

 

Name MMs DDS ¥¥Y¥

 

 

; Number Street

 

 

City State ZIP Code :

I have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

48 U.S.C. §§ 152, 1341, 1519, and 35774.

x x

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date _ Date :
Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)? i
2
L] No

wf Yes i

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
LI No

id Yes. Name of person Rick Weaver( Court Source, Inc,.) . Attach the Bankruptcy Petition Praparer’s Natice,
Declaration, and Signature (Official Form 119).

i

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
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Fill in this information to Identify your case:

Debtor 4 Sabrina Danielle Victory

First Name Middle Name Last Name

 

Deptor 2 Brianna Elizabeth Victory

(Snouse, if fungi Fipst Meme Middle Name. Last Name

United States Bankruptey Court far the: Middle District of Florida

Case number CI Check if this is an
Uf known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 i215

 

\f you are an individual filing under chapter 7, you must fill out this form if:

® creditors have claims secured by your property, or

@® you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if Known).

Earn Your Creditors Whe Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060), fill in the
information below.

What do you intend to do with the property that Did you claim the property ©
secures a debt? as exempt on Schedule C?

Identify the creditor and the property that is collateral

Creditor's oA Surrender the property,

name: Subaru Finance

Description of Subaru Crosstrek
property

securing debt:

Creditor’s .
name: Hyundai Finance

Description of
property
securing debt:

Hyundai Elantra

Creditor’s .
name: Nissan Acceptance

Description of
property
securing debt:

Nissan Rague

Creditors
name:

Description of
property
securing debt:

C} Retain the property and redeem it.

L] Retain the property and enter into a
Reafirmation Agreament.

LI} Retain the property and [explain]:

 

CS Surrender the property.
Q) Retain the praperty and redeem it.

ie Retain the property and enter into a
Reaffirmation Agreement.

Cl Retain the property and fexplainj:

 

QO Surrender the property.
(2 Retain the property and redeem it.

bf Retain the property and enter into a
Reaftirmation Agreement.

L} Retain the progerty and (explain):

 

Q) Surrender the property.
CL) Retain the property and redeem it.

C) Retain the praperty and enter into a
Reaffirmation Agreement.

LI Retain the property and [explain]:

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7

Ll No
wi Yas

page 1

 

 
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Debter 4 Sabrina Danielle Victory Case number (/f known),

First Name Middle Name Last Name

Cran List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executary Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustea does not assume it. 11 U.S.C. § 366(p}(2).

 

 

     

   

 

         

Describe your unexpired personal property leases Will the lease be assumed?

Lessar's name: DL) No
_ QO ves

Description of leased

property:

Lessors name: CO) Ne
i DO ves

Description of leased

property:

Lessors name: LI No

Description of leased CI ves

property:

Lessar’s name: L) No

L) ves

Description of teased

property:

Lassor's name: CL) No

UO) Yes

Description of leased

property:

Lessor's name: CI No
. CI Yes

Description of leased

property:

Lessors name: CJ No

OC) ves

Description of teased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

 

 

x x

 

Signature of Debtor 1 Signature of Debtor 2

Date Date
MMi DO f ¥4Y¥¥ MMS ODS YY¥YY

Official Form 108 Statement of Intention fer individuals Filing Under Chapter 7 page 2

 

 
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MURR OL Ce Check one box only as directed in this form and in
; Form 1224-1Supp:
Debtor 1 Sabrina Danielle Victory
First Name Middle Mame Last Name
Debtor 2 Brianna Elizabeth Victory.
(Spouse, if filing) First Name Middle Name Last Name CJ 2. The calculation to determine if a presumption of

- . a . abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Middle District of Florida Means Test Calculation (Official Form 122A-2).

| 1. There is no presumption of abuse.

 

Case number CQ) 3. The Means Test does nat apply now because of
(If Known! qualified military Service but it could apply later.

 

 

 

 

Q) Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies, On the top of any
additional pages, write your name and case number {if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A4-1Supp) with this form.

EE catcuate Your Current Monthly Income

4. What ts your marital and filing status? Check one only.

C) Not married. Fill out Column A. lines 2-11.
4 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

 

 

C) Married and your spouse is NOT filing with you. You and your spouse are:
Q Living in the same household and ara not legally separated. Fill out both Calumns A and 8, lines 2-11.

O) Living separately or are Jegally separated. Fill out Calumn A, lines 2-11; de nat fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you fite this ;
bankruptcy case. 17 U.S.C. § 101(10A). For example, if you are filing on September 15, ihe 6-month period. would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 manths arid divide the total by 6.

Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing te report-for any line. write $0 in the space. ~ , i

Column A Column B : :
Debtor t Debtor 2 or ;
non-filing spouse

; 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroli deductions).

$_ 2,333.33 $ 0.00

| 3. Alimony and maintenance payments. Do not include payments from a spause if i
> Column & is filled in. $_ $e

| 4, All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
fram an unmarried pariner, members of your household, your dependents, parents,
and roommates. Inciude regular contributions from a spouse only if Column B is not

 

 

 

 

 

filled in. Do nat include payments yau listed on line 3. 5 $
: 5. Net income from operating a business, profession, Debtor 4 Dabtor 2 i
: or farm i
' Gross receipts (before all deductions) $i SK i
Ordinary and necessary operating expenses -—$ -—$ :
Net monthly income from a business, profession, or farm = $ voRy y $ 3
: 6. Net income from rental and other real property Debtor 1 Debtor 2
| Gress receipts (before all deductions) SB :

Ordinary and necessary operating expenses -—4 -4 |

Net monthly incame from rental or ather real property 5 & roby g $ :
_ 7. Interest, dividends, and royalties $ 3

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

 
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Debtor 1 Sabrina Danielle Victory Case number trian)
First Name Middle Name Las! Name
Column A Column 8
Debtor 1 Debtor 2.or
non-filing spouse
8. Unemployment compensation $ 5
: Do not enter ine amouni if you contend that the amount received was a benefit
under the Social Security Act. Instead, list theres... + ;
FOr YOU i ccc tteceetecee cece tescice sesetitetntnenes toe & i
i FOr yOur SPOUSE... eee cecttte reeset $

9. Pension or retirement income. De not include any amount received that was a
; benefit under the Social Security Act. $ $

: 10. Income from all other sources not listed above. Specify the source and amount.

: Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, @ crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the tota! below.

 

 

 

: ¢___ :
5 $ |
: Total amounts from separate pages, if any. +§ +

 

11. Calculate your total current monthly income. Add lines 2 through 10 for each

column. Then add the total for Column A ta the total for Column 8. g 2,333.33 7) 5 0.00 =} 2,333.33] |

! ——_—_—_—_—__~ } ————_— ;
Total current
monthly Income i

| Part 2: (ED Whether the Means Test Applies to You

 

 

 

, 12. Calculate your current monthly income for the year. Follow these steps:

 

  

 

 

12a. Copy your total current monthly income from line 14.00... ec cceetccsesvsavanssstiisieseavansitiseseceneesees Copy line 11 here> 2,333.33 |
Multiply by 12 (the number of months in a year). x 12
12b, The result is your annual income for this part of the form. 12b. $_28,000.00
: 13, Caleulate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. FL
Fitlin the number of people in your household. 2
Fill in the median family income for your state and size Of MOUSENON. eee eee eee ee tes cs genenseaeesete cients 13. 3 60,400.00

 

 

 

Ta find a list of applicable median income amounts, ga anliné using the link specified in the separate
instructions for this farm. This list may also be available at the bankruptcy clerk’s office.

. 14. How do the lines compare?

14a. MM Line 12b is tess than or equal te line 13. On the top of page 1. check box 1, There is no presumption of abuse.
Go to Part 3.

i4b LJ Line 125 is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Farm 1224-2.
Go to Part 3 and fill out Fotm 122A-2.

no Sign Below

By we | deciare under penalty of perjury that the information an this statement and in any attachments js true and correct.

Signature of Debtor 1 Signature of Debtor 2 5

Date /p Log / 2 ad dete {OC {0a 2019 |

MM/ OD fYYYY

 

If you checked line 14a, do NOT fill out or file Form 122A-2. |
If you checked line 14b, fill out Form 122A~2 and file it with this form.

Official Farm 1224-4 Chapter 7 Statement of Your Current Monthly Income page 2

 
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Creditors
ARS Account Resoluti
1643 NW 136th AVe
Sunrise, FL, 33323

Ascend Federal Credi
556 WM Northern Blvd
Tullahoma, TN, 37388

ATT Mobility
1825 Lenox Park Blvd NE,
Atlanta, GA, 30319

Austin Peay
6@1 College St
Clarksville, TN, 37644

Barclays Bank Delawa
PQ Box 8803
Wilmington,DE 19899

Capital One NA
PO Box 85015
Richmond, VA, 23285

Capital One Bank USA
PO BOx 36285
Salt Lake City,UT,84136

Capital Gne Northland Group
P.O.Box 399846
Minneapolis,MN 55439

Chula Vista Emergency Room Phy
P.O. BOX 1698
Arcadia,CA 91677

Chula Vista
58426
Los Angeles,CA 90@a74

Citicards CBNA
7@1E 6e@th St N
Sioux Falls,sD 57164

Comenity Bank
2795 East Cottonwood Parkway Ste 16@
Salt Lake City,UT,84@92

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Creditors
Common Wealth Financi
245 Main Street,
Dickson City,PA,18519

CMRE Financial Services
3075 E Imperial Hwy Ste 260
Brea,CA,92821

Credence Resource Manage
PO Box 23860
Southgate,MI, 48195

Credit Bureau System
1947 Madison St,
Clarksville, TN, 37648

Credit control LLC
5757 phantom Dr, STE 334
Hazelwood,MOQ 63642

Credit One Bank
Po Box 98872
Las Vegas,NV 89193

Crossroads urgent care, PLLC
1698 Fort Campbell Blvd
Clarksville, TN, 37042

Cumberland Pathology Associates,
651 Dunlop Lane,
Clarksville, TN, 37843

Dept of ED/Navient
PO Box 9655
Wilkes-Barre, PA,18773

Dept of Electricity
2021 Wilma Rudolph Blvd
Clarksville, TN, 37640

Emer Phys Svcs NY PC
1656 Champlin Ave
Utica, NY,135@2

FC Emergency Physcians

17248 Cortez Blvd
Brooksville, FL,346@1

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Creditors
First National Credi
50@ — 6eth St N
Sioux Falls,5D 57164

First Premier
3826 N Louise Ave
Sioux Falls,$S0 57107

First Svgs-BK Blaze
PO Box 5865
Sioux Falls,sD 57117

Hyundai Motor Financ
1055@ Talbert
Fountain Valley,CA,92628

JPMCB-Auto Finance
301 N Walnut St,Floor 89
Wilmington, DE ,196801

Kay Jewelers
PO Box 4485
Beaverton,OR 97076

Law Offices Of Mitchell
34@@ Texoma Parkway Suite 108,
Sherman,TX 75@92

LVNV Funding LLC
625 Pilot Road Suite 2/3
Las Vegas,NV 89119

Medical revenue service
P.O. Box 1946
Melbourne,FL 32982

Midland Funding LLC,
2365 Northside Drive,
San Diego,CA 92108

MidState Skin Institute Deerwood
1638 Se 18th St Bldg 4@0
Ocala,FL 34471

Navy Federal Credit Union,
P.O, Box 3106
Merrifield ,VA 22119

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Creditors
Nissan Acceptance CO
PO Box 660360
Dallas,TX 75266

Patient financial services
16798 ranch Bernardo rd
San Diego,CA 92127

Portfolio Recovery A,
12@ Corporate Blvd Ste 1e@,
Norfolk,VA 23502

 

Progressive
256 West Data Dr,
Draper,UT 84620

Progressive Management §
1521 W. Cameron Ave First Floor,
West Covina,CA 91790

SCA Collections
398 East Aelington Blvd,
Greenville,NC, 27834

Scripts Billing Correspondence
18666 North Torrey Pines RD 45-205
La Jolla,CA 92037

Scripps Clinic,
3811 Valley Center Dr,
SAn Diego,CA,9213@e

Scripps Hosiptal Chula Vista
435 H St,
Chula Vista,CA 91916

Sheridan Emergency Physicians,
778 West Sunrise Blvd Plantation,
Florida, TX, 33322

Sun coast
6861 E Hillsborough Ave
Tampa, FL 33616

Syncb/Care Credit
C/O P,0, Box 965936
Orlando, FL,32896

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Creditors
Synchrony Bank
140 Wekiva Springs Rd,
Longwood,FL,32779

TFC Credit Corp
52@ air park drive
Tullahoma, TN 37388

UF Health
P.O. Box 16051
Lewiston,ME 04243

US Bank
PO Box 188
St Louis,MO, 63166

US Dept of Educatio
PO Box 7860
Madison,WI,537@4

Valley Emergency Physcians,
1994 N Calfornia Blvd#4¢e,
Walnut Creek,CA 94596

Vanderbilt university medical center Dept
1171 P.O. Box 121171
Dallas,TX 75312

Zebit
953@ Towne Center Drive Ste 260
San Diego,CA 92121

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Creditors

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